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                                       Exhibit A

                          Detailed Statement of Hours and Fees




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LORDSTOWN MOTORS CORP.
RE: Project Pickup                                                                                  OUR REF: 1902563-0002



For professional services for the period ending 30 November 2023




DATE                  DESCRIPTION                                                 TIMEKEEPER         HOURS                   USD

Asset Analysis, Sale & Disposition
1 November 2023       Confer with LAS/LandX counsel re: misc. asset sale          F He                  0.20                262.00
                      motion issues (0.1); confer with A. Kroll re: same (0.1).

3 November 2023       Call with J. Zakia (W&C) re LAS/LandX post-closing          D Turetsky            0.10                175.00
                      matters.

3 November 2023       Confer with client re: post-closing disputes (0.5);         J Zakia               1.90            3,325.00
                      discussion with D. Turetsky re: same (0.1); draft, and
                      revise letter to buyer re: same (1.3).

3 November 2023       Confer with D. Turetsky re: asset sale issue (0.1);         R Szuba               0.30                342.00
                      research re: same (0.1); draft correspondence to D.
                      Turetsky, J. Zakia, and A. Cieply re: same (0.1).

6 November 2023       Further analysis re: LAS/LandX post closing matters.        D Turetsky            0.10                175.00

6 November 2023       Confer with A. Kroll re: misc. assets list for LAS/LandX    F He                  0.70                917.00
                      counsel (0.2); confer with D. Turetsky and A. Cieply re:
                      various issues re: LAS (0.5).

6 November 2023       Correspondence from F. He, A. Cieply re: excluded           D Kim                 0.30                381.00
                      assets and other purchase issues (0.2); correspond
                      with F. He re: same (0.1).

7 November 2023       Confer with A. Kroll re: misc. assets list for LAS/LandX    F He                  0.50                655.00
                      (0.2); confer with LAS/LandX counsel re: same (0.3).

8 November 2023       Review issues re: sale of assets to LandX.                  R Kampfner            0.20                318.00

8 November 2023       Confer with A. Kroll re: misc. assets list for LAS/LandX    F He                  2.00            2,620.00
                      (0.4); confer with LAS/LandX counsel re: same (0.6);
                      confer with R. Kampfner re: same (0.2); review
                      materials re: same (0.3); confer with Jefferies re: sale
                      process VDR closure (0.3); confer with Committees re:
                      same (0.2).

9 November 2023       Confer with LAS re: misc. sale issues.                      F He                  0.20                262.00

14 November 2023      Emails to M. Kroll (Lordstown) and M. Leonard               D Turetsky            0.30                525.00
                      (Lordstown) re: SEC inquiry re: miscellaneous asset
                      sales (0.1); email to D. Baddley (SEC) re: same (0.1);
                      emails to F. He (W&C) re: informal SEC comments to
                      miscellaneous asset sale motion (0.1).

14 November 2023      Confer with D. Turetsky re: misc. sale issues from SEC      F He                  1.50            1,965.00
                      (0.3); confer with A. Kroll and M. Leonard (Company)
                      re: same (0.5); draft/revise language for SEC and
                      other party issues (0.4); call with Ohio Lead Plaintiff
                      counsel re: misc. sale issues (0.3).




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LORDSTOWN MOTORS CORP.
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DATE                   DESCRIPTION                                                 TIMEKEEPER         HOURS                   USD

15 November 2023       Prepare misc. asset sale order.                             F He                  0.30                393.00

20 November 2023       Confer with M Peterson re: misc. asset sale order.          F He                  0.50                655.00

21 November 2023       Confer with D. Turetsky and M. Peterson re: misc.           F He                  1.00            1,310.00
                       asset sale order issues/related company inquires (0.5);
                       research re: company inquiry re: misc. asset sale (0.5).

22 November 2023       Confer with D. Turetsky re: misc. asset sale order.         F He                  0.20                262.00

27 November 2023       Confer with A. Kroll (Company) re: misc. asset sale         F He                  0.20                262.00
                       order.

SUBTOTAL: Asset Analysis, Sale & Disposition                                                            10.50           14,804.00


Business Operations, Vendor & Utility Issues
1 November 2023        Call with R. Kampfner (W&C) re: vehicle buyback             D Turetsky            0.40                700.00
                       issues (0.1); emails to E. Hightower (Lordstown) and
                       D. Ninivaggi (Lordstown) re: vehicle buyback issues
                       (0.1); further analysis re: vehicle buyback issues (0.2).

1 November 2023        Review and revise vehicle repurchase motion.                R Kampfner            1.20            1,908.00

2 November 2023        Call with J. Zakia (W&C) re: vehicle buback issues          D Turetsky            0.20                350.00
                       (0.1); email to J. Zakia (W&C) re: vehicle warranty
                       issues (0.1).

2 November 2023        Confer with D. Turetsky re: vehicle buyback matters.        J Zakia               0.10                175.00

2 November 2023        Confer with A. Kroll, M. Leonard, M. Port (Company)         F He                  0.90            1,179.00
                       and S. Kohler (Silverman) re: various issues re:
                       operational issues (0.5); confer with D. Turetsky and J.
                       Zakia re: same (0.4).

7 November 2023        Call with J. Zakia (W&C) re: vehicle repurchase issues.     D Turetsky            0.20                350.00

7 November 2023        Confer with D. Turetsky re: vehicle repurchase issues       J Zakia               0.50                875.00
                       (0.2); confer with Foxconn counsel re: vehicle buyback
                       (0.3).

7 November 2023        Confer with M. Leonard (Company) re: license issues.        F He                  0.30                393.00

8 November 2023        Prepare for and participate in client call re: service of   J Zakia               0.50                875.00
                       vehicles.

8 November 2023        Confer with M. Patterson re: vendor issues (0.3);           F He                  0.50                655.00
                       confer with A. Kroll re: same (0.2).

9 November 2023        Confer with M. Patterson re: vendor issues (0.3);           F He                  0.50                655.00
                       confer with R. Szuba re: same (0.2).

12 November 2023       Calls with D. Ninivaggi (Lordstown) re: vehicle             D Turetsky            0.30                525.00
                       repurchase issues (0.2); call with J. Zakia (W&C) re:
                       vehicle buyback issues (0.1).



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LORDSTOWN MOTORS CORP.
RE: Project Pickup                                                                               OUR REF: 1902563-0002




DATE                DESCRIPTION                                                TIMEKEEPER         HOURS                   USD

12 November 2023    Confer with D. Turetsky re: vehicle buyback issues.        J Zakia               0.10                175.00

13 November 2023    Further analysis re: vehicle repurchase issues (0.3);      D Turetsky            0.40                700.00
                    email to F. He (W&C) re: vehicle repurchase issues
                    (0.1).

13 November 2023    Review and revise draft form of vehicle repurchase         D Kim                 0.80            1,016.00
                    agreement (0.6); correspond with F. He re: same (0.1);
                    review and analyze correspondence from company re:
                    same (0.1).

14 November 2023    Call with D. Ninivaggi (Lordstown) re: vehicle buyback     D Turetsky            0.40                700.00
                    issues (0.2); further analysis re: vehicle buyback
                    issues (0.2).

14 November 2023    Review and revise vehicle buyback motion (1.7);            R Kampfner            2.20            3,498.00
                    attend call with D. Turetsky re: status of vehicle
                    buyback issues (0.5).

14 November 2023    Research repurchase issues (0.4) and revise vehicle        F He                  0.80            1,048.00
                    repurchase motion (0.4).

15 November 2023    Call with Lordstown (D. Ninivaggi, M. Leonard, A. Kroll,   D Turetsky            1.10            1,925.00
                    M. Port) and R. Kampfner (W&C) re: vehicle
                    repurchase issues (0.7); further analysis re: vehicle
                    repurchase issues (0.4).

15 November 2023    Attend call with D. Turetsky, A. Kroll, M. Leonard, F.     R Kampfner            2.00            3,180.00
                    He re: vehicle buyback motion (0.6); review and revise
                    vehicle buyback motion (1.4).

15 November 2023    Confer with A. Kroll and M. Leonard (Company) and D.       F He                  0.50                655.00
                    Turetsky and R. Kampfner (W&C) re: vehicle issues.

16 November 2023    Call with D. Detweiler (Womble) re: vehicle repurchase     D Turetsky            1.50            2,625.00
                    issues (0.4); emails to D. Ninivaggi (Lordstown), M.
                    Leonard (Lordstown) and others re: vehicle repurchase
                    issues (0.3); review and comment re: motion to
                    repurchase vehicles (0.6); call with D. Kovsky
                    (Troutman) re: vehicle repurchase issues (0.1); emails
                    to R. Szuba (W&C) re: vehicle buyback motion issues
                    (0.1).

16 November 2023    Review and revise buyback motion.                          R Kampfner            1.60            2,544.00

16 November 2023    Revise vehicle repurchase motion (0.6), order (0.3),       R Szuba               2.50            2,850.00
                    and term sheet (0.8); correspond with D. Turetsky and
                    R. Kampfner re: same (0.5); correspond with company
                    re: same (0.3).

17 November 2023    Call with Lordstown (D. Ninivaggi, E. Hightower, M.        D Turetsky            1.10            1,925.00
                    Leonard, and A. Kroll) re: vehicle buyback issues (0.5);
                    email to R. Szuba (W&C), R. Kampfner (W&C) and
                    others re: vehicle buyback issues (0.2); review and
                    comment re: vehicle buyback analysis for distribution
                    to committees (0.2); call with R. Szuba (W&C) re:
                    vehicle buyback motion issues (0.1); review and
                    comment re: letter to Foxconn re: vehicle repurchase



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DATE                DESCRIPTION                                                TIMEKEEPER         HOURS                   USD

                    matters (0.1).

17 November 2023    Review/revise motion to buyback cars.                      R Kampfner            0.90            1,431.00

17 November 2023    Draft correspondence to Womble re: buyback motion          R Szuba               2.20            2,508.00
                    (0.2); review correspondence from D. Turetsky re:
                    buyback motion (0.2); confer with D. Turetsky re:
                    buyback motion (0.2); review correspondence from M.
                    Leonard and A. Kroll re: buyback motion rationale
                    (0.2); draft Foxconn letter agreement re: buyback
                    motion (1.4).

18 November 2023    Further review and comment re: Foxconn letter re:          D Turetsky            0.50                875.00
                    vehicle repurchase (0.2); further review and comment
                    re: memo re: vehicle repurchase issues (0.3).

18 November 2023    Draft letter to Foxconn re: repurchase motion (0.3);       R Szuba               0.70                798.00
                    correspond with D. Ninivaggi and Company re: same
                    (0.2); draft vehicle repurchase motion (0.2).

19 November 2023    Review critical reasons for repurchase analysis (0.3);     R Szuba               0.70                798.00
                    correspond with Creditors’ Committee counsel re:
                    same (0.1); correspond with Equity Committee counsel
                    re: same (0.1); correspond with D. Turetsky re: same
                    (0.1); draft correspondence with Company re: same
                    (0.1).

20 November 2023    Calls with J. Zakia (W&C) re: vehicle repurchase           D Turetsky            1.30            2,275.00
                    issues (0.1); further review and comment re: motion to
                    repurchase vehicles (0.3); call with D. Kovsky
                    (Troutman) re: vehicle repurchase motion (0.1); email
                    to D. Ninivaggi (Lordstown), A. Kroll (Lordstown), and
                    others re: vehicle repurchase issues (0.2); call with D.
                    Guyder (Allen & Overy) re: vehicle repurchase issues
                    (0.1); email to D. Guyder (Allen & Overy) re: vehicle
                    repurchase issues (0.1); call with R. Szuba (W&C) re:
                    vehicle repurchase motion (0.4).

20 November 2023    Confer with A. Kroll and M. Port (Company) and C.          F He                  0.30                393.00
                    Tsitsis and S. Kohler (Silverman) re: Debtors’
                    operation/case developments.

20 November 2023    Revise motion to repurchase vehicles (0.9); draft term     R Szuba               2.40            2,736.00
                    sheet with respect to vehicle repurchase motion (0.4);
                    correspond with D. Turetsky and R. Kampfner re:
                    same (0.5); correspondence with D. Ninivaggi and
                    company re: same (0.2); correspond with D. Kovsky
                    and counsel to Creditors’ Committee re: same (0.2);
                    correspond with B. Silverberg and counsel to Equity
                    Committee re: same (0.2).

21 November 2023    Calls with R. Szuba (W&C) re: vehicle repurchase           D Turetsky            2.80            4,900.00
                    issues (0.6); emails to D. Ninivaggi (Lordstown), A.
                    Kroll (Lordstown) and others re: vehicle repurchase
                    issues (0.3); calls with D. Ninivaggi (Lordstown) re:
                    vehicle repurchase motion (0.2); calls with D. Guyder
                    (Allen & Overy) re: vehicle repurchase issues (0.3);
                    emails to D. Guyder (Allen & Overy) and others from
                    Allen & Overy re: vehicle repurchase issues (0.2); call



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LORDSTOWN MOTORS CORP.
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DATE                   DESCRIPTION                                               TIMEKEEPER         HOURS                   USD

                       with D. Kovsky (Troutman) and F. Lawall (Troutman)
                       re: vehicle repurchase issues (0.1); call with J. Zakia
                       (W&C) re: vehicle repurchase issues (0.1); further
                       review and comment re: vehicle repurchase motion
                       (0.4) and order (0.1); review and comment re: vehicle
                       repurchase letter with Foxconn (0.1); emails to M.
                       Leonard (Lordstown) and D. Ninivaggi (Lordstown) re:
                       same (0.2); call with B. Silverberg (Brown Rudnick) re:
                       vehicle repurchase issues (0.2).

21 November 2023       Confer with D. Turetsky re: vehicle repurchase issues     J Zakia               0.60            1,050.00
                       (0.2); review draft repurchase agreement and Foxconn
                       comments (0.4).

21 November 2023       Review correspondence from D. Turetsky, D. Ninivaggi      R Szuba               3.50            3,990.00
                       and A. Kroll re: status of buybacks and motion (0.4);
                       revise motion to buyback vehicles (0.9); review
                       comments re: same from interested parties (0.6);
                       correspond with D. Turetsky and R. Kampfner re:
                       same (0.3); correspond with counsel to Equity
                       Committee re: same (0.3); correspond with counsel to
                       Creditors’ Committee re: same (0.3); correspond with
                       M. Patterson and Womble re: motion to shorten notice
                       re: repurchase motion (0.2); correspond with M.
                       Patterson and Womble team re: repurchase motion
                       filing (0.1); review motion to shorten (0.2); prepare
                       repurchase motion for filing (0.2).

22 November 2023       Review and comment re: motion to shorten notice with      D Turetsky            0.20                350.00
                       respect to vehicle repurchase motion (0.1); calls with
                       R. Szuba (W&C) re: vehicle repurchase motion (0.1).

22 November 2023       Review and revise motion to shorten vehicle               F He                  0.70                917.00
                       repurchase motion (0.5); confer with R. Szuba re:
                       vehicle issues (0.2).

22 November 2023       Revise motion to repurchase vehicles (0.3);               R Szuba               0.90            1,026.00
                       correspond with F. He re: same (0.2); correspond with
                       M. Patterson and Womble team re: filing same (0.2);
                       correspond with D. Ninivaggi and Company re: same
                       (0.2).

30 November 2023       Confer with A. Crnkovich (Silverman) re: vehicle          F He                  0.60                786.00
                       repurchase issues (0.3); research re: same (0.3).

SUBTOTAL: Business Operations, Vendor & Utility Issues                                                38.90           56,314.00


Case Administration
2 November 2023        Call (0.2) and correspond (0.2) with shareholder re:      L Mezei               0.40                408.00
                       proofs of claim and case status.

3 November 2023        Analyze revised critical dates calendar (0.2);            D Kim                 0.30                381.00
                       correspond with F. He re: open matters and tasks
                       (0.1).

6 November 2023        Correspond with D. Hirshorn re: critical dates and case   D Kim                 0.50                635.00
                       calendar (0.1); review same (0.3); analyze and revise



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                    case open matters tracker (0.1).

7 November 2023     Conduct weekly work in progress call with D. Kim, R.          F He                  0.40                524.00
                    Szuba, L. Mezei.

7 November 2023     Team call with F. He, R. Szuba, L. Mezei re: case             D Kim                 0.80            1,016.00
                    workstreams (0.4); review and provide comments to
                    tracker for same (0.2); correspond with L. Mezei re:
                    case calendaring issues (0.2).

7 November 2023     Attend work in progress call with F. He, D. Kim, L.           R Szuba               0.30                342.00
                    Mezei.

7 November 2023     Update work in progress tracker (0.6); attend work in         L Mezei               1.00            1,020.00
                    progress call with F. He, D. Kim, R. Szuba (0.4).

8 November 2023     Correspond with M. Patterson re: certain motions for          D Kim                 0.70                889.00
                    filing (0.2); review and revise case matter tracker (0.3);
                    confer with F. He re: same (0.2).

13 November 2023    Confer with D. Kim and R. Szuba re: workstreams.              F He                  0.30                393.00

14 November 2023    Call with P. Strom, L. Mezei, R. Szuba, F. He re: case        D Kim                 0.60                762.00
                    updates and ongoing matters (0.5); review and provide
                    comments to tracker based on same (0.1).

14 November 2023    Attend work in progress call with F. He, D. Kim, L.           R Szuba               0.50                570.00
                    Mezei, P. Strom.

14 November 2023    Update work in progress tracker (0.6); attend work in         L Mezei               1.10            1,122.00
                    progress call with F. He, D. Kim, P. Strom (0.5).

15 November 2023    Review and analyze case filings.                              D Kim                 0.20                254.00

16 November 2023    Correspond with Equity Committee professionals and            R Szuba               0.20                228.00
                    Womble re: case admin issue.

16 November 2023    Analyze (0.1) and call (0.1) with shareholder re: case        L Mezei               0.20                204.00
                    inquiry.

20 November 2023    Correspond with      F.   He    re:   call    re:   ongoing   D Kim                 0.10                127.00
                    workstreams.

21 November 2023    Correspond with F. He re: open tasks and matters              D Kim                 0.20                254.00
                    (0.2).

22 November 2023    Confer with M. Leonard re: case workstreams and               F He                  0.30                393.00
                    status.

27 November 2023    Review and revise tracker for general administration          D Kim                 0.50                635.00
                    matters (0.3); analyze case filings and calendar
                    matters (0.2).

29 November 2023    Conduct weekly work in progress call with D. Kim, R.          F He                  0.50                655.00
                    Szuba, P. Strom (0.5).



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29 November 2023     Review revised task tracker (0.3); team call with F. He,   D Kim                 0.80            1,016.00
                     P. Strom, R. Szuba, re: pending matters (0.5).

29 November 2023     Attend call with F. He, D. Kim, P. Strom re: Plan          R Szuba               0.50                570.00
                     confirmation workstreams coordination and work in
                     progress.

30 November 2023     Call with F. He and R. Szuba (W&C) re: pending             D Kim                 0.40                508.00
                     matters and open tasks.

30 November 2023     Attend call with F. He and D. Kim re: Plan confirmation    R Szuba               0.60                684.00
                     workstreams coordination.

SUBTOTAL: Case Administration                                                                        11.40           13,590.00


Case Strategy
2 November 2023      Call with R. Kampfner, D. Kim and R. Szuba re:             F He                  0.40                524.00
                     various developments and strategy.

2 November 2023      Team strategy call with R. Kampfner, F. He, R. Szuba.      D Kim                 0.40                508.00

6 November 2023      Call with W&C team (R. Kampfner, D. Kim, F. He, R.         D Turetsky            0.70            1,225.00
                     Szuba) re: case strategy and catchup.

6 November 2023      Call with D. Turetsky, D. Kim, F. He and R. Szuba re:      R Kampfner            0.70            1,113.00
                     case strategy and catchup.

6 November 2023      Call with D. Turetsky, R. Kampfner, D. Kim and R.          F He                  0.50                655.00
                     Szuba re: various developments and strategy.

6 November 2023      Team conference call with D. Turetsky, R. Kampfner,        D Kim                 0.70                889.00
                     F. He, R. Szuba re: pending case matters and ongoing
                     case strategy.

6 November 2023      Attend case strategy call with D. Turetsky, R.             R Szuba               0.70                798.00
                     Kampfner, F. He and D. Kim.

7 November 2023      Call with W&C team (D. Kim, R. Szuba, R. Kampfner          D Turetsky            0.30                525.00
                     and F. He) re: case strategy and issues.

7 November 2023      Call with W&C team (D. Kim, R. Szuba, D. Turetsky          R Kampfner            0.30                477.00
                     and F. He) re: case strategy and issues.

7 November 2023      Call with D. Turetsky, R. Kampfner, D. Kim and R.          F He                  0.30                393.00
                     Szuba re: various developments and strategy.

7 November 2023      Team call with D. Turetsky, F. He, R. Kampfner, R.         D Kim                 0.20                254.00
                     Szuba re: case updates and strategy.

7 November 2023      Attend case strategy call with D. Turetsky, R.             R Szuba               0.30                342.00
                     Kampfner, F. He and D. Kim.

8 November 2023      Confer with D. Turetsky and R. Kampfner re: case           J Zakia               0.60            1,050.00
                     strategy issues.



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8 November 2023     Call with R. Kampfner, D. Kim and R. Szuba re:               F He                  0.40                524.00
                    various developments and strategy.

8 November 2023     Team call with R. Kampfner, R. Szuba, F. He re:              D Kim                 0.40                508.00
                    strategic issues and open matters.

8 November 2023     Attend case strategy call with R. Kampfner, F. He and        R Szuba               0.40                456.00
                    D. Kim.

9 November 2023     Call with W&C team (F. He, R. Szuba, and R.                  D Turetsky            0.40                700.00
                    Kampfner) re: case issues and strategy.

9 November 2023     Call with W&C team (F. He, R. Szuba, and D.                  R Kampfner            0.40                636.00
                    Turetsky) re: case issues and strategy.

9 November 2023     Call with D. Turetsky, R. Kampfner, D. Kim and R.            F He                  0.80            1,048.00
                    Szuba re: various developments and strategy (0.3);
                    confer with A. Kroll, M. Leonard, M. Port (Company)
                    and S. Kohler (Silverman) re: various strategic issues
                    (0.5).

9 November 2023     Attend case strategy call with D. Turetsky, R.               R Szuba               0.50                570.00
                    Kampfner, F. He and D. Kim.

12 November 2023    Confer with client re: case strategy.                        J Zakia               0.50                875.00

13 November 2023    Call with Lordstown (M. Leonard, A. Kroll, M. Port),         D Turetsky            0.50                875.00
                    Silverman (S. Kohler, E. Hammes) and F. He (W&C)
                    re: case issues and strategy (0.3); call with W&C team
                    (F. He and D. Kim) re: case issues and strategy (0.2).

13 November 2023    Team call with D. Turetsky, F. He, D. Kim, R. Szuba          R Kampfner            0.50                795.00
                    re: open issues and case strategy.

13 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.            F He                  0.80            1,048.00
                    Szuba re: various developments and strategy (0.5);
                    confer with A. Kroll, M. Leonard, M. Port (Company)
                    and S. Kohler (Silverman) re: various strategic issues
                    (0.3).

13 November 2023    Team call with F. He, R. Kampfner re: open issues and        D Kim                 0.50                635.00
                    case strategy.

14 November 2023    Confer with client re: case strategy (0.6); confer with D.   J Zakia               1.30            2,275.00
                    Turetsky, R. Kampfner, F. He, others (W&C) re: case
                    strategy (0.7).

15 November 2023    Calls with client re: case strategy.                         J Zakia               0.80            1,400.00

15 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.            F He                  0.30                393.00
                    Szuba re: various developments and strategy.

15 November 2023    Team call with R. Szuba, F. He re: case strategy and         D Kim                 0.30                381.00
                    issues.

15 November 2023    Attend case strategy call with R. Kampfner, F. He and        R Szuba               0.30                342.00



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                    D. Kim.

16 November 2023    Confer with A. Kroll, M. Leonard (Company) and S.         F He                  0.40                524.00
                    Kohler (Silverman) re: various strategic issues.

20 November 2023    Call with W&C team (R. Kampfner, D. Kim, F. He, R.        D Turetsky            0.40                700.00
                    Szuba) re: case issues and strategy.

20 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.         F He                  0.40                524.00
                    Szuba re: various developments and strategy.

20 November 2023    Team call with D. Turetsky, R. Kampfner, R. Szuba, F.     D Kim                 0.40                508.00
                    He re: case matters and pending issues.

20 November 2023    Attend case strategy call with R. Kampfner, F. He and     R Szuba               0.40                456.00
                    D. Kim.

21 November 2023    Call with W&C team (D. Kim, F. He, R. Szuba) re: case     D Turetsky            0.20                350.00
                    issues and strategy.

21 November 2023    Confer with client re: case strategy.                     J Zakia               0.60            1,050.00

21 November 2023    Call with D. Turetsky, D. Kim and R. Szuba re: various    F He                  0.30                393.00
                    developments and strategy.

21 November 2023    Call with D. Turetsky, F. He, R. Szuba re: case open      D Kim                 0.30                381.00
                    matters and strategies.

21 November 2023    Attend case strategy call with R. Kampfner, F. He and     R Szuba               0.40                456.00
                    D. Kim.

22 November 2023    Confer with client re: case strategy.                     J Zakia               0.50                875.00

27 November 2023    (Partial) call with W&C team (R. Kampfner, J. Zakia, F.   D Turetsky            0.30                525.00
                    He, and D. Kim) re: case strategy and open issues.

27 November 2023    Confer with T. Lauria re: case strategy.                  J Zakia               0.50                875.00

27 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.         F He                  0.50                655.00
                    Szuba re: various developments and strategy.

27 November 2023    Attend conference call with R. Kampfner, F. He, R.        D Kim                 0.50                635.00
                    Szuba, D. Turetsky re: Plan and confirmation status
                    and other related matters.

27 November 2023    Attend case strategy call with D. Turetsky, R.            R Szuba               0.50                570.00
                    Kampfner, F. He and D. Kim.

29 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.         F He                  0.50                655.00
                    Szuba re: various developments and strategy.

29 November 2023    Call with R. Kampfner, D. Turetsky, F. He, R. Szuba       D Kim                 0.50                635.00
                    re: case developments and strategy.

29 November 2023    Attend strategy call with R. Kampfner, D. Turetsky, F.    R Szuba               0.50                570.00


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                     He, and D. Kim.

SUBTOTAL: Case Strategy                                                                                   23.30           33,551.00


Claims Administration & Objections
1 November 2023      Call with J. Zakia (W&C) re: SEC issues (0.2); further       D Turetsky               0.80            1,400.00
                     research/analysis re: class claim issues (0.5); call with
                     J. Zakia (W&C) re: class claim issues (0.1).

1 November 2023      Call with D. Turetsky re: SEC claim issues.                  J Zakia                  0.20                350.00

1 November 2023      Confer with E. Hammes and A. Crnkovich (Silverman)           F He                     0.90            1,179.00
                     re: claim analysis meeting with Committees (0.4);
                     review and revise presentation for claim meeting with
                     Committees (0.5).

1 November 2023      Draft/revise objection to class proofs of claim (4.1);       S Kaul                   6.10            6,466.00
                     confer with A. Padmanabhan re: schedules to class
                     claims objection (0.2); correspond with J. Zakia re:
                     class claims objection (0.3); research/analysis re:
                     claims substantiation in connection with class proof of
                     claim objection (0.9) and late-filed claims (0.4); email
                     to J. Zakia re: same (0.2).

1 November 2023      Draft sections of objection to class proofs of claim         A Padmanabhan            9.10            6,734.00
                     (4.3); research re: issues re: class proof of claim
                     objection (2.1); draft schedules in connection with
                     objections to certain proofs of claim (2.7).

2 November 2023      Email to F. He (W&C) and D. Kim (W&C) re: claims             D Turetsky               0.40                700.00
                     reconciliation/objection issues (0.1); analysis re: claims
                     resolution issues (0.3).

2 November 2023      Confer with client re: SEC settlement issues.                J Zakia                  0.40                700.00

2 November 2023      Confer with D. Kim re: claim objection issues (0.4);         F He                     1.20            1,572.00
                     confer with S. Kaul re: substantive claim objection
                     issues (0.6); confer with M. Patterson (Womble) re:
                     hearing date for claim objection (0.2).

2 November 2023      Correspond with E. Hammes (Silverman) re: claims             D Kim                    1.40            1,778.00
                     analysis for objections (0.4); analyze final claims
                     summary presentation from Silverman (0.6); prepare
                     claim reconciliation overview email for company (0.4).

2 November 2023      Call with F. He re: claims objections and hearing date       S Kaul                   2.90            3,074.00
                     (0.4); email to D. Turetsky, D. Kim, and others re: class
                     claims objection (0.2); review comments to draft class
                     claims objection from D. Kim and F. He (0.4) and
                     incorporate same (1.9).

2 November 2023      Draft omnibus claims objection (2.7) and research re:        L Mezei                  3.20            3,264.00
                     claim objection issues (0.5).

2 November 2023      Revise schedules of objections to proofs of claim.           A Padmanabhan            0.60                444.00




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3 November 2023    Confer with D. Kim re: claim objection issues (0.3);         F He                  1.70            2,227.00
                   review and comment re: (1.2); confer with M. Patterson
                   re: claim objection issues (0.2).

3 November 2023    Draft claims reconciliation overview and process for         D Kim                 3.30            4,191.00
                   company (1.0); correspond with M. Leonard and
                   Lordstown team re: inquiries re: same (0.2); review
                   and comment re: first omnibus claim objection (0.4);
                   review and provide comments to class action claim
                   objection (0.7); correspond with F. He and S. Kaul re:
                   same (0.3); analyze company claims analysis and
                   presentation (0.7).

3 November 2023    Emails with F. He, D. Turetsky, J. Zakia and others re:      S Kaul                3.80            4,028.00
                   claims objections (0.3); call with F. He and D. Kim re:
                   class claims (0.4); research re: issues re: class claims
                   objection (1.1); further revise draft class claims
                   objection (1.7); email to J. Zakia re: revised draft class
                   claims objection and supporting documents (0.3).

3 November 2023    Continue drafting omnibus claims objection (0.9) and         L Mezei               1.10            1,122.00
                   circulate to W&C team (0.2).

6 November 2023    Review and comment re: omnibus objection to class            D Turetsky            2.20            3,850.00
                   proofs of claim (1.4); further research re: class claim
                   issues in chapter 11 (0.8).

6 November 2023    Confer with A. Kroll, M. Leonard, M. Port (Company)          F He                  2.20            2,882.00
                   and S. Kohler (Silverman) re: claim objection issues
                   (0.5); confer with D. Kim re: same (0.4); call with D.
                   Kim (W&C) and M. Patterson (Womble) re: same (0.4);
                   conference call with M. Port, A. Crnkovich (Silverman),
                   S. Kohler (Silverman) and KCC re: claim objection
                   strategy (0.6); confer with S. Kaul re: substantive claim
                   objections (0.3).

6 November 2023    Analyze issues re: revised claims report and analysis        D Kim                 2.90            3,683.00
                   from company (0.8); correspond with A. Crnkovich
                   (Silverman) re: same (0.1); call with M. Patterson
                   (WBD) and F. He re: claims reconciliation strategy and
                   process (0.4); analyze Rule 7023 motion re: class
                   action claim filed by Ohio lead plaintiff (0.6);
                   correspond with S. Kaul, F. He re: same (0.2); call with
                   M. Patterson re: omnibus objection re: class claim
                   (0.2); team call with M. Port, A. Crnkovich (Silverman),
                   F. He, M. Patterson (WBD) and team re: claim
                   objection process and strategy (0.6).

6 November 2023    Call with S. Kaul, J. Yoo, and A. Padmanabhan re:            R Szuba               0.30                342.00
                   claim objections.

6 November 2023    Conference with R. Szuba, J. Yoo, and A.                     S Kaul                0.80                848.00
                   Padmanabhan re: claims objections (0.3); email to J.
                   Yoo re: draft class claims objection and next steps
                   (0.3); emails to D. Turetsky re: same (0.2).

6 November 2023    Attend W&C team call re: claim objection (0.5); confer       J Yoo                 7.10            7,242.00
                   with W&C team re: claim objection (0.3); conduct legal
                   research in support of claim objection (3.6); review and



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                   revise draft claim objection (2.7).

6 November 2023    Research re: class proofs of claim issues.                   A Padmanabhan            1.50            1,110.00

7 November 2023    Confer with M. Port re: claim objection question (0.3);      F He                     1.20            1,572.00
                   call with A. Crnkovich (Silverman) re: claim objection
                   issues (0.4); confer with D. Kim re: same (0.5).

7 November 2023    Correspond with L. Mezei re: omnibus non-substantive         D Kim                    1.50            1,905.00
                   claim objections (0.2); review and further revise re:
                   same (0.8); correspond with M. Patterson (WBD) re:
                   same (0.1); review revised omnibus substantive claim
                   objection re: purported class action claims (0.4).

7 November 2023    Call with J. Zakia re: draft class claims objection (0.3);   S Kaul                   2.70            2,862.00
                   correspond with M. Leonard, A. Kroll, and E.
                   Hightower re: same (0.4); confer with F. He re: same
                   (0.3); correspond with R. Stark, D. Kovsky-Apap, F.
                   Lawall and others re: same (0.2); analyze motion for
                   Rule 7023 treatment of class claims (1.1) and prepare
                   summary re: same (0.4).

7 November 2023    Revise omnibus claim objection.                              L Mezei                  1.40            1,428.00

7 November 2023    Draft opposition to Rule 7023 Motion (3.4); confer with      J Yoo                    3.60            3,672.00
                   S. Kaul re: same (0.2).

7 November 2023    Research re: class proofs of claim issues (1.5); draft       A Padmanabhan            1.70            1,258.00
                   and circulate summary re: same to W&C team (0.2).

8 November 2023    Call with B. Silverberg (Brown Rudnick) and R.               D Turetsky               0.30                525.00
                   Kampfner (W&C) re: SEC non-dischargeability claim
                   issues.

8 November 2023    Confer with D. Kim re: claim objection issues (0.5);         F He                     1.20            1,572.00
                   confer with C. Tsitsis (Silverman) re: same (0.2);
                   review schedules for claim objection (0.5).

8 November 2023    Calls with A. Crnkovich of Silverman re: schedules to        D Kim                    3.50            4,445.00
                   second omnibus non-substantive objection (0.7);
                   review and provide comments to same (0.9); review
                   and analyze certain disputed claims (1.0); correspond
                   with A. Estrada of KCC re: filed proofs of claims (0.2);
                   review and revise omnibus objection (0.5); correspond
                   with F. He, M. Patterson (WBD) re: same (0.2).

8 November 2023    Review bar date order in connection with opposition to       S Kaul                   7.70            8,162.00
                   class claims (0.1); review bar date and publication
                   notice in connection with opposition to class claims
                   (0.3); review KCC certificates of service (0.2); review
                   case law re: reasonable diligence in identifying known
                   creditors (0.7); research re: unknown creditor issues
                   (1.1); review securities class action complaint analysis
                   from A. Padmanabhan (0.3) and provide comments
                   (0.4); review case law re: putative class representative
                   agency (0.9); draft objection to motion to apply Rule
                   7023 to class claims (3.7).




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8 November 2023     Conduct legal research in support of opposition to Rule      J Yoo                    0.70                714.00
                    7023 Motion (0.5); review and review draft claim
                    objection (0.2).

8 November 2023     Research cases re: class proofs of claim and putative        A Padmanabhan            3.50            2,590.00
                    class members.

9 November 2023     Further analysis re: class action claim issues (0.3); call   D Turetsky               0.70            1,225.00
                    with S. Vasser (Dechert) re: indemnification claim
                    issues (0.2); call with J. Zakia (W&C) re: class claim
                    issues (0.2).

9 November 2023     Confer with C. Tsitsis (Silverman) re: claim issues          F He                     1.50            1,965.00
                    (0.2); confer with R. Szuba re: same (0.2); confer with
                    C. Tsitsis (Silverman) re: same and claim objection
                    issues (0.3); confer with D. Kim re: claim objection
                    issues (0.3); review and revise claim objection (0.5).

9 November 2023     Further review/comment revised draft schedules to            D Kim                    4.10            5,207.00
                    second omnibus (non-substantive) claim objection
                    (1.4); calls with A. Crnkovich and C. Tsitsis of
                    Silverman re: same (0.3); further revise draft omnibus
                    objection (0.5); correspond with F. He, L. Mezei, M.
                    Patterson (WBD) re: same (0.2); review and analyze
                    claims analysis re: certain unliquidated derivative
                    claims (0.7); analyze draft claims analysis progress per
                    Silverman team (0.8); confer with F. He re: claim
                    objections and related issues (0.2).

9 November 2023     Further draft objection to Rule 7023 motion (3.4);           S Kaul                   6.40            6,784.00
                    correspond with F. He, D. Kim, and R. Szuba re:
                    Silverman declaration (0.2); email C. Tsitsis re: same
                    (0.1); correspond with J. Zakia re: comments to class
                    claims objection (0.3); email to M. Patterson re: same
                    (0.2); further research in connection with same (0.9);;
                    prepare declaration of C. Tsitsis in support of class
                    claims objection (0.5); draft KCC declaration in support
                    of Rule 7023 objection (0.6); prepare summary of
                    outstanding issues re: Rule 7023 motion (0.2).

9 November 2023     Conduct legal research in support of opposition to Rule      J Yoo                    4.10            4,182.00
                    7023 Motion (2.8); review and revise opposition to
                    Rule 7023 Motion (1.3).

9 November 2023     Research re: Rule 7023 motion issues raised by               A Padmanabhan            4.40            3,256.00
                    opposing counsel and distinguish from present factual
                    circumstances (2.7); revise objection re: case law
                    (1.7).

10 November 2023    Email to F. He (W&C) and D. Kim (W&C) re: Ohio               D Turetsky               3.30            5,775.00
                    claimants’ Rule 23 motion (0.1); call with B. Silverberg
                    (Brown Rudnick) and S. Dwoskin (Brown Rudnick) re:
                    class claim issues (0.7); emails to J. Zakia (W&C) re:
                    class claim issues (0.1); further analysis re: class proof
                    of claim issues (0.7); (partial) further call with Brown
                    Rudnick (B. Silverberg, M. Winograd, S. Dwoskin) and
                    J. Zakia (W&C) re: Ohio claimant Rule 23 motion (1.1);
                    calls with W&C team (J. Zakia, S. Kaul, and D. Kim) re:
                    objection to Rule 23 motion issues (0.3); call with D.
                    Detweiler (Womble) and M. Patterson (Womble) re:



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                    class proof of claim objection (0.2); further email to J.
                    Zakia (W&C) and R. Kampfner (W&C) re: class claim
                    objection issues (0.1).

10 November 2023    Further email to J. Zakia (W&C) and D. Turetsky             R Kampfner            0.30                477.00
                    (W&C) re: class claim objection issues (0.1); confer
                    with F. He re: claim objection analysis (0.2).

10 November 2023    Confer with L. Mezei re: claim objection issues (0.6);      F He                  3.20            4,192.00
                    confer with M. Patterson re: same (0.4); confer with R.
                    Kampfner re: same (0.2); confer with S. Kaul re:
                    substantive claim objection issues (0.5); call with R.
                    Suba, S. Kohler and A. Crnkovich (Silverman) re: claim
                    reserve issues (0.6); confer with R. Szuba are: same
                    (0.2); confer with R. Szuba re: Ohio plaintiff
                    certification motion issues (0.4); review research re:
                    same (0.3).

10 November 2023    Draft analysis re: arguments with respect to Ohio           R Szuba               1.00            1,140.00
                    plaintiffs’ proofs of claim (0.8); correspond with S.
                    Kaul, J. Yoo, and A. Padmanabhan re: same (0.2).

10 November 2023    Call with J. Zakia re: class claims objection (0.3);        S Kaul                9.20            9,752.00
                    conference with D. Turetsky, J. Zakia, and D. Kim re:
                    class proofs of claim (0.3); further draft objection to
                    Rule 7023 motion (2.3); revise objection to class
                    claims (0.8); email to D. Turetsky, J. Zakia, F. He and
                    others re: same (0.1); correspond with D. Ninivaggi, M.
                    Leonard, E. Hightower and others re: same (0.2);
                    revise C. Tsitsis declaration in support of same (0.2);
                    confer with J. Yoo and A. Padmanabhan re:
                    outstanding Rule 7023 issues (0.3); revise summary of
                    allegations from A. Padmanabhan (0.2); confer with J.
                    Yoo re: Rule 23 analysis (0.4); correspond with S.
                    Kohler and C. Tsitsis re: draft declaration (0.2);
                    research/analysis re: sufficiency of constructive bar
                    date notice (0.7); confer with D. Turetsky and J. Zakia
                    re: substantive claim objection waiver issues (0.3);
                    review KCC estimate re: actual notice of bar date (0.3);
                    review prepetition securities class action dockets (0.4)
                    and PSLRA notice (0.3); finalize class claims objection
                    (0.9); correspond with M. Patterson re: same (0.2);
                    further correspond with D. Ninivaggi re: same (0.1);
                    confer with R. Szuba re: equity securities holders (0.2);
                    further research re: substantive claims waiver issues
                    (0.5).

10 November 2023    Review/comment wrong Debtor claims exhibit (0.9)            L Mezei               3.80            3,876.00
                    and correspond with F. He re: same (0.2);
                    review/comment insufficient claims exhibit (0.6);
                    review/comment claims objection (1.3); correspond
                    with Silverman re: same (0.2); correspond with KCC
                    re: same (0.2); circulate within W&C team re: same
                    (0.1); further review re: same and finalize for filing
                    (0.3).

10 November 2023    Conduct legal research in support of opposition to Rule     J Yoo                 6.50            6,630.00
                    7023 Motion (3.9); review and revise opposition to
                    Rule 7023 Motion (2.3); confer with S. Kaul and A.
                    Padmanabhan re: same (0.3).




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10 November 2023    Revise claims objection (1.8); emails with W&C FRI           A Padmanabhan            6.40            4,736.00
                    team re: coordinating on outstanding questions re:
                    claims objection (0.3); research issues in connection
                    with 7023 objection (4.3).

11 November 2023    Further research/analysis re: class claim objection          D Turetsky               1.10            1,925.00
                    issues (0.2); review and analysis re: Ohio lead plaintiff
                    Rule 7023 motion (0.7); call with J. Zakia (W&C) re:
                    Ohio lead plaintiff Rule 7023 motion (0.2).

11 November 2023    Review and revise opposition to motion to consider           J Zakia                  2.30            4,025.00
                    class certification (2.1); confer with D. Turetsky re:
                    same (0.2).

11 November 2023    Research re: issues in connection with objection to          S Kaul                   3.50            3,710.00
                    7023 motion (1.4); further revise Rule 7023 objection
                    (1.9); email to J. Zakia, D. Turetsky, R. Kampfner and
                    others re: same (0.2).

12 November 2023    Further analysis re: Rule 7023 motion issues (0.8);          D Turetsky               2.10            3,675.00
                    further analysis re: class proof of claim issues (0.4);
                    review and comment re: objection to Ohio plaintiff’s
                    Rule 7023 motion (0.9).

12 November 2023    Review and comment opposition to motion to file class        J Zakia                  2.30            4,025.00
                    proof of claim (1.9), confer with S. Kaul re: same (0.4).

12 November 2023    Call with J. Zakia re: KCC declaration and Rule 7023         S Kaul                   8.40            8,904.00
                    objection (0.4); revise draft KCC declaration (0.8);
                    email to L. Cavallo, J. Lee, K. Martin (KCC) and others
                    re: same (0.2); correspond with J. Zakia re: comments
                    to draft Rule 7023 objection (0.3) and incorporate
                    same (2.4); email to D. Turetsky, J. Zakia, F. He and
                    others re: draft 7023 objection and outstanding items
                    (0.2); draft preliminary statement (0.8); revise draft
                    Rule 7023 objection per comments (1.9); review cited
                    authorities (0.8); correspond with D. Ninivaggi, M.
                    Leonard, E. Hightower and others re: Rule 7023
                    motion (0.2); correspond with R. Stark, B. Silverberg,
                    and S. Dwoskin re: same (0.2); correspond with D.
                    Detweiler re: same (0.1); correspond with D. Kovsky-
                    Apap and F. Lawall re: same (0.1).

12 November 2023    Revise draft objection to Ohio Lead Plaintiff's Rule         J Yoo                    1.60            1,632.00
                    7023 Motion and confer with S. Kaul re: same.

13 November 2023    Further analysis re: claim reserve issues (0.4); call with   D Turetsky               0.70            1,225.00
                    J. Zakia (W&C) re: SEC claim issues (0.1); call with D.
                    Ninivaggi (Lordstown) re: SEC claim issues (0.2).

13 November 2023    Review and revise opposition to class certification          J Zakia                  2.90            5,075.00
                    motion (1.8) and review Equity Committee joinder
                    (0.2); confer with S. Kaul re: same (0.3); confer with D.
                    Turetsky re: same (0.1); confer with directors' counsel
                    re: class issues (0.5).

13 November 2023    Review claims reserve analysis and correspondence            D Kim                    1.50            1,905.00
                    re: same (0.5); review and provide comments to draft
                    KCC declaration in support of objection to 7023 motion



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                    (0.8); correspond with S. Kaul re: same (0.2).

13 November 2023    Conference with A. Estrada, J. Lee, A. Padmanabhan          S Kaul                   5.40            5,724.00
                    re: KCC declaration (0.5); further revise/finalize
                    objection to Rule 7023 motion (3.4) and declaration of
                    J. Lee (KCC) (0.6); correspond with J. Lee re:
                    revisions to declaration (0.2); email to J. Zakia, D.
                    Turetsky, D. Kim and others re: same (0.2); call with J.
                    Zakia re: objection to Rule 7023 motion (0.3);
                    correspond with D. Ninivaggi re: potential settlement
                    issues (0.2).

13 November 2023    Revise draft objection to Ohio Lead Plaintiff's 7023        J Yoo                    3.80            3,876.00
                    Motion (2.9) and confer with W&C team re: same (0.9).

13 November 2023    Revise Debtors’ objection to lead plaintiff's 7023          A Padmanabhan            4.50            3,330.00
                    motions (1.6); research re: issues re: same (2.9).

14 November 2023    Further review and comment re: Rule 7023 objection          D Turetsky               1.20            2,100.00
                    (0.8) and KCC declaration re: same (0.4).

14 November 2023    Review and revise opposition to class certification         J Zakia                  1.50            2,625.00
                    motion (1.1) and supporting documents (0.4).

14 November 2023    Confer with A. Crnkovich (Silverman) re: claim reserve      F He                     0.30                393.00
                    issues.

14 November 2023    Correspond with F. He re: additional omnibus non-           D Kim                    0.20                254.00
                    substantive claim objections.

14 November 2023    Research re: Rule 7023 objection issues (1.3); further      S Kaul                   5.10            5,406.00
                    revise draft objection per same (1.9); correspond with
                    J. Zakia, D. Turetsky, and others re: same (0.3);
                    incorporate additional comments to same (0.8); finalize
                    draft objection and declaration for filing (0.4);
                    correspond with J. Lee re: final declaration (0.2);
                    coordinate with M. Patterson re: filing (0.2).

15 November 2023    Call with Lordstown (M. Leonard, A. Kroll, M. Port),        D Turetsky               0.80            1,400.00
                    Silverman (S. Koehler and others), and W&C (R.
                    Kampfner and F. He) re: claim reserve issues.

15 November 2023    Confer with S. Kohler, A. Crnkovich (Silverman), A.         F He                     1.10            1,441.00
                    Kroll, M. Leonard, M. Port (Company) and D. Turetsky
                    and R. Kampfner (W&C) re: claim reserve issues.

16 November 2023    Further analysis re: claim reserve issues (0.3); email to   D Turetsky               0.40                700.00
                    B. Silverberg (Brown Rudnick) and others re: same
                    (0.1).

16 November 2023    Confer with A. Crnkovich (Silverman) re: claim issues       F He                     1.10            1,441.00
                    (0.3); research and confer with A. Crnkovich and
                    Company re: government claim issues (0.8).

16 November 2023    Review documents from state tax agencies re:                D Kim                    0.80            1,016.00
                    prepetition claim issues (0.4); correspond with F. He
                    re: same (0.1); confer with A. Estrada (KCC) re:



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                    supplemental bar date packages for same (0.3).

16 November 2023    Correspond with Equity Committee counsel and FA re:        R Szuba               0.30                342.00
                    claims reserve (0.2); correspond with S. Kohler and
                    Silverman team re: same (0.1).

17 November 2023    Call and email with M. Etkin (Lowenstein) re: Ohio         D Turetsky            1.10            1,925.00
                    claimant rule 7023 motion (0.1); call with R. Winning
                    (M3) re: claim reserve issues (0.2); call with Silverman
                    (D. Tsitsis, E. Hammes and others), Lordstown (M.
                    Leonard, A. Kroll, and others) and W&C R. Kampfner,
                    R. Szuba) re: Plan claims reserve issues (0.8).

17 November 2023    Attend call with Silverman (D. Tsitsis), Lordstown (A.     R Kampfner            1.40            2,226.00
                    Kroll) and others re: claims reserve (0.8) and
                    work/analysis on reserve issues (0.6).

17 November 2023    Confer with M. Port (Company) re: potential creditor       F He                  0.80            1,048.00
                    claim issues (0.1); confer with R. Szuba and research
                    re: claim issues (0.7).

17 November 2023    Coordinate with Company and Committees re: claims          R Szuba               0.60                684.00
                    reserve (0.3); (partial) attend call re: claims reserve
                    with D. Turetsky, R. Kampfner, S. Kohler and
                    Silverman Team, and A. Kroll and M. Leonard (0.3).

17 November 2023    Confer with J. Yoo re: class claims objection (0.2);       S Kaul                1.50            1,590.00
                    research re: waiver issues (0.8); correspond with J.
                    Zakia re: same (0.2); correspond with F. He and D.
                    Kim re: same (0.3).

17 November 2023    Further research (1.3) and further confer with S. Kaul     J Yoo                 1.50            1,530.00
                    re: omnibus class claim objection (0.2).

20 November 2023    Call with R. Winning (M3) re: claim reserve issues         D Turetsky            0.50                875.00
                    (0.3); call with D. Kovsky (Troutman) re: claims reserve
                    issues (0.1); email to J. Zakia (W&C) re: SEC claim
                    issues (0.1).

20 November 2023    Review/analysis of claims reserve issues.                  R Kampfner            0.50                795.00

20 November 2023    Review and analyze revised claim analysis from             D Kim                 0.90            1,143.00
                    company and Silverman teams (0.5); further analysis
                    re: re: claims breakdown and issues (0.4).

20 November 2023    Calls with E. Hammes re: GUC claims reserve analysis       R Szuba               2.20            2,508.00
                    (0.2); call with D. Tsitsis re: same (0.1); call with A.
                    Kroll re: claims reserve (0.6); review claims reserve
                    support (0.5); correspond with counsel to Creditors’
                    Committee (0.3) and Equity Committee (0.3) re: claims
                    reserve; confer with D. Turetsky re: same (0.2).

21 November 2023    Call with D. Kovsky (Troutman) and F. Lawall               D Turetsky            1.70            2,975.00
                    (Troutman) re: claim reserve issues (0.1); further
                    analysis re: claims reserve issues (0.7); call with R.
                    Kampfner (W&C) and R. Szuba (W&C) re: claims
                    reserve issues (0.2); further call with D. Kovsky
                    (Troutman) re: claims reserve issues (0.1); further



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                    analysis re: SEC claim issues (0.3); further
                    analysis/research re: class claim objection issues
                    (0.3).

21 November 2023    Review/analysis revised claims analysis documents            D Kim                 0.90            1,143.00
                    prepared by company and Silverman team.

21 November 2023    Call with D. Turetsky re: claims reserve and other           R Szuba               0.80                912.00
                    confirmation process issues (0.2); review support for
                    claims reserve analysis (0.3); call with C. Tsitsis re:
                    claims reserve (0.1); review support re: GUC claims
                    reserve (0.2).

21 November 2023    Call with J. Yoo re: KCC declaration and substantive         S Kaul                0.30                318.00
                    objection research (0.3)).

21 November 2023    Conduct research in support of omnibus claim                 J Yoo                 0.90                918.00
                    objections (0.6) and confer with J. Zakia and S. Kaul
                    re: same (0.3).

22 November 2023    Call with S. Kaul re: class claim objections.                J Zakia               0.30                525.00

22 November 2023    Correspondence with J. Zakia and J. Yoo re: class            S Kaul                0.70                742.00
                    claims objection (0.2); call with J. Zakia re: same (0.3);
                    confer with J. Yoo re: additional research and analysis
                    of waiver issues (0.2).

22 November 2023    Confer with S. Kaul re: substantive omnibus claim            J Yoo                 0.20                204.00
                    objections and review correspondence re: same.

24 November 2023    Confer with D. Turetsky re: claim issues (0.2); confer       F He                  0.50                655.00
                    with C. Tsitsis (Silverman) re: same (0.3).

24 November 2023    Analyze correspondence from claimant and company             D Kim                 0.40                508.00
                    re: certain claims in first omnibus non-substantive
                    claim objection (0.2); review proposed language for
                    claim objection order (0.2).

27 November 2023    Emails to R. Stark (Brown Rudnick) and B. Silverberg         D Turetsky            0.20                350.00
                    (Brown Rudnick) re: Ohio class 7023 motion issues
                    (0.1); call with R. Stark (Brown Rudnick) re: 7023
                    motion issues (0.1).

27 November 2023    Confer with R. Szuba re: claim issues (0.6); confer with     F He                  1.00            1,310.00
                    M. Patterson re: claim objection (0.2); confer with D.
                    Kim re: claim issues (0.2).

27 November 2023    Correspond with company and F. He re: claim                  D Kim                 1.10            1,397.00
                    reconciliation matters (0.2); prepare tracker of all claim
                    objection responses (0.4); correspond with M.
                    Patterson re: response deadline extension for certain
                    claimants (0.1); analyze response submitted by
                    Fiberdyne (0.2); correspond with F. He re: same (0.2).

27 November 2023    Call with C. Tsitsis re: claims administration process       R Szuba               2.10            2,394.00
                    (0.2); correspond with KCC re: notice on claim
                    included in first omnibus objection (0.1); correspond



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                    with D. Turetsky and W&C team re: same (0.2);
                    correspond with M. Patterson and Womble team re:
                    same (0.2); correspond with C. Tsitsis re: same (0.2);
                    review letter response from Fiberdyne to omnibus
                    clams objection (0.2); review Fiberdyne claim and
                    supporting documentation (0.2); draft response to
                    Fiberdyne re: same (0.8).

27 November 2023    Review/research re: substantive claims objections,          S Kaul                1.10            1,166.00
                    waiver, and discovery issues (1.1).

28 November 2023    Emails to F. He (W&C), R. Szuba (W&C), and D. Kim           D Turetsky            0.50                875.00
                    (W&C) re: omnibus claims objection issues (0.1);
                    further analysis re: claim reserve issues (0.3); email to
                    M. Etkin (Lowenstein) re: Rule 7023 class claim/motion
                    issues (0.1).

28 November 2023    Confer with M. Patterson (Womble) re: claim issues          F He                  1.40            1,834.00
                    (0.2); review and revise email to claimant (0.2); confer
                    with M Patterson (Womble) re: claimant issue (0.1);
                    confer with C. Tsitsis (Silverman) re: claim objection
                    issues and revise order re: claim objection (0.6);
                    review and confer with A. Kroll (Company) re: claimant
                    questions (0.3).

28 November 2023    Correspond with S. Kaul, and J. Yoo re: potential           D Kim                 1.80            2,286.00
                    substantive claim objection for certain litigation claims
                    (0.2); review related research re: same issues (0.5);
                    review proposed resolution of objection of claims filed
                    by Timkin (0.3); analyze documents provided by
                    Fiberdyne re: claim objection (0.5); correspond with F.
                    He re: same (0.2); review revise proposed order
                    sustaining first omnibus objection (0.1).

28 November 2023    Correspond with counsel Fiberdyne re: claim objection       R Szuba               0.50                570.00
                    response (0.3); confer with F. He re: same (0.2).

28 November 2023    Call/confer with S. Kaul re: substantive claim objection    J Yoo                 2.70            2,754.00
                    (0.6); conduct legal research on substantive claim
                    objection issues (2.1).

29 November 2023    Further analysis re: RIDE claim issues (0.2); emails to     D Turetsky            2.90            5,075.00
                    D. Kim (W&C) re: same (0.1); call with Troutman (D.
                    Kovsky, F. Lawall), J. Zakia (W&C) and R. Kampfner
                    (W&C) re: claims reserve issues (0.5); follow up call
                    with J. Zakia (W&C) and R. Kampfner (W&C) re: claim
                    reserve issues (0.4); further analysis re: claims reserve
                    issues (0.5); call with R. Szuba (W&C) re: claim
                    reserve issues (0.1); further call with J. Zakia (W&C)
                    re: claim reserve issues (0.1); call with Lordstown (D.
                    Ninivaggi, A. Kroll), R. Kampfner (W&C), J. Zakia
                    (W&C) and R. Szuba (W&C) re: claims reserve issues
                    (1.0).

29 November 2023    Confer A. Kroll and M. Port re: claims issues (0.2);        F He                  0.60                786.00
                    confer with S. Kohler (Silverman) re: claim issues
                    (0.4).

29 November 2023    Call with S. Kaul, R. Szuba, J. Yoo (all W&C) re:           D Kim                 0.90            1,143.00



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                      potential substantive omnibus claim objection (0.4);
                      review and analyze certain litigation claims (0.3);
                      correspond with A. Estrada (KCC) re: bar date service
                      for same (0.1); correspond with D. Turetsky (W&C) re:
                      same (0.1).

29 November 2023      Call with S. Kaul and J. Yoo re: RIDE Litigation and        R Szuba               0.70                798.00
                      claims (0.5); correspond with same re: same (0.2).

29 November 2023      Conference with J. Yoo, D. Kim, and R. Szuba re:            S Kaul                0.60                636.00
                      substantive claims objections (0.4); confer with J. Yoo
                      re: objections to Ride claims (0.2).

30 November 2023      Calls with J. Zakia (W&C) re: SEC claim issues (0.2);       D Turetsky            0.90            1,575.00
                      call with SEC (D. Baddley, J. Leasure, M. Cave), S&C
                      (S. Peikin and J. Croke) and J. Zakia (W&C) re: SEC
                      claim issues (0.5); further analysis re: claims reserve
                      issues (0.2).

30 November 2023      Confer with A. Kroll and M. Port (Company) and C.           F He                  1.00            1,310.00
                      Tsitsis and S. Kohler (Silverman) re: claim issues (0.8);
                      confer with vendor counsel re: issues (0.2).

30 November 2023      Correspondence from J. Westwood (KCC) and D.                D Kim                 0.50                635.00
                      Detweiler (WBD) re: response to first omnibus claim
                      objection (0.1); review and analyze filed response
                      (0.3); confer with F. He re: revised proposed order
                      sustaining first omnibus claim objection (0.1).

SUBTOTAL: Claims Administration & Objections                                                          229.10          265,355.00


Corporate Advice & Board Meetings
7 November 2023       Call with R. Szuba (W&C) re: Lordstown compensation         D Turetsky            0.60            1,050.00
                      committee meeting issues (0.1); emails to D. Tsitsis
                      (Silverman) re: compensation committee issues (0.2);
                      calls with R. Szuba (W&C) re: compensation
                      committee presentation (0.1); review and comment re:
                      same (0.2).

7 November 2023       Draft presentation to compensation committee of             R Szuba               3.00            3,420.00
                      board of Lordstown Motors Corp. re: employee
                      settlement (2.8); confer with D. Turetsky re: same
                      (0.2).

8 November 2023       Review and comment re: revised presentation for             D Turetsky            2.70            4,725.00
                      compensation committee meeting (1.1); emails to R.
                      Szuba (W&C) re: presentation for compensation
                      committee meeting (0.2); call with R. Szuba (W&C) re:
                      compensation committee deck (0.1); call with D.
                      Ninivaggi (Lordstown) and M. Leonard (Lordstown) re:
                      compensation committee issues (0.3); further call with
                      D. Ninivaggi (Lordstown) re: compensation committee
                      issues (0.1); Lordstown compensation committee
                      meeting with compensation committee (K. Feldman, D.
                      Spencer, A. Strand), J. Spreen (Baker Hostetler) and
                      others (0.9).




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8 November 2023     Review and comment board material re: employee             F He                  0.50                655.00
                    settlement.

8 November 2023     Calls with D. Turetsky re: compensation committee          R Szuba               1.60            1,824.00
                    board deck (0.3); call with C. Tsitsis re: same (0.2);
                    draft compensation committee board deck (0.7);
                    correspond with Company re: same (0.1); review
                    correspondence from D. Turetsky re: same (0.2);
                    review documents re: same (0.1).

9 November 2023     Call with D. Turetsky re: correspondence to board of       R Szuba               0.30                342.00
                    Lordstown Motors Corp. re: employee settlement (0.1);
                    correspond with board re: same (0.2).

10 November 2023    Review and comment re: employee agreement                  D Turetsky            0.90            1,575.00
                    compensation committee resolutions (0.5); email to R.
                    Szuba (W&C) and F. He (W&C) re: same (0.1); email
                    update to Lordstown board re: employee claim
                    settlement (0.3).

10 November 2023    Correspond with board of LMC and compensation              R Szuba               0.90            1,026.00
                    committee re: employee settlement (0.7); correspond
                    with D. Turetsky re: same (0.2).

12 November 2023    Email to Lordstown compensation committee re:              D Turetsky            0.30                525.00
                    employee settlement issues (0.2); email to Lordstown
                    board re: employee settlement issues (0.1).

20 November 2023    Respond to correspondence from D. Ninivaggi (LMC)          G Pryor               0.20                390.00
                    re: corporate advice issues.

20 November 2023    Emails to M. Leonard (Lordstown) re: board meeting         D Turetsky            0.10                175.00
                    issues.

20 November 2023    Review correspondence from D. Turetsky re: board           R Szuba               0.20                228.00
                    meeting (0.1); draft correspondence to J. Zakia re:
                    same (0.1).

27 November 2023    Discussions with J. Zakia re: preparation for board        G Pryor               0.70            1,365.00
                    meeting (0.3); follow up call with D. Ninivaggi (LMC)
                    and M. Leonard (LMC) re: preparation for board
                    meeting (0.4).

27 November 2023    Call with W&C team (R. Szuba, J. Zakia, (partial) R.       D Turetsky            0.60            1,050.00
                    Kampfner) re: board meeting issues.

27 November 2023    Review materials for board meeting (0.2); confer with      J Zakia               1.10            1,925.00
                    D. Turetsky, R. Szuba, R. Kampfner re: same (0.6);
                    confer with G. Pryor re: governance issues (0.3).

27 November 2023    Review correspondence re: upcoming board meeting           R Szuba               1.10            1,254.00
                    (0.2); attend call with D. Turetsky, R. Kampfner, and J.
                    Zakia re: same (0.6); draft board presentation (0.3).

28 November 2023    Discussions with D. Turetsky and J. Zakia re:              G Pryor               0.50                975.00
                    preparation for board meeting.




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28 November 2023    Emails to R. Szuba (W&C) re: board meeting issues            D Turetsky            0.80            1,400.00
                    (0.1); call with D. Ninivaggi (Lordstown), G. Pryor
                    (W&C) and J. Zakia (W&C) re: board meeting issues
                    (0.5); further analysis re: board meeting issues (0.2).

28 November 2023    Confer with D. Turetsky and G. Pryor re: board               J Zakia               0.50                875.00
                    meeting issues.

28 November 2023    Draft board presentation (2.5); correspond with D.           R Szuba               3.50            3,990.00
                    Turetsky, R. Kampfner and J. Zakia re: same (0.5);
                    correspond with A. Cieply and S. Zhang re: board
                    resolutions (0.3); review issues re: board resolutions
                    (0.2).

29 November 2023    Review resolutions (0.4); discussions with D. Turetsky       G Pryor               0.90            1,755.00
                    re: preparation for board meeting (0.5).

29 November 2023    Review and comment re: board meeting presentation            D Turetsky            1.80            3,150.00
                    (1.4); email to M. Leonard (Lordstown) and A. Ciccone
                    (Lordstown) re: board meeting issues (0.2); further
                    review and comment re: board presentation (0.2).

29 November 2023    Draft board presentation (0.5); correspond with D.           R Szuba               1.10            1,254.00
                    Turetsky and J. Zakia re: board presentation (0.3);
                    coordinate with S. Zhang and M&A team re: board
                    resolutions (0.3).

30 November 2023    Review of charter in connection with governance              G Pryor               2.80            5,460.00
                    issues (0.6); discussions with J. Zakia, D. Turetsky and
                    D. Ninivaggi (LMC) to prepare for board meeting (0.4);
                    review of board deck (0.5); attend board meeting (1.0)
                    and follow up with J. Zakia (0.3) re: same.

30 November 2023    Review and comment re: draft board resolutions (0.2);        D Turetsky            2.80            4,900.00
                    meeting with derivative claims oversight committee (L.
                    Sauve and others), Winston (M. DiRisio and others)
                    (0.3); confer with G. Pryor (W&C) re: board meeting
                    issues (0.3); call with D. Ninivaggi (Lordstown) and G.
                    Pryor (W&C) re: board meeting issues (0.1); prepare
                    for board meeting (0.6); attend and advise at board
                    meeting with LMC board (D. Hamamoto, L. Soave, K.
                    Feldman, J. Reiss, E. Hightower, D. Ninivaggi, D.
                    Spencer, and others), M. Leonard (Lordstown), A. Kroll
                    (Lordstown), J. Spreen (Baker Hostetler), J. Zakia
                    (W&C), G. Pryor (W&C) (1.0); call with M. Leonard
                    (Lordstown) re: board meeting issues (0.1); call with R.
                    Szuba (W&C) re: board meeting issues (0.1);
                    research/analysis re: post-effective date board meeting
                    requirements (0.1).

30 November 2023    Prepare for board meeting with G. Pryor, D. Turetsky         J Zakia               2.10            3,675.00
                    and D. Ninivaggi (0.4); review board materials (0.3);
                    participate in board meeting (1.0); confer with client re:
                    upcoming board meeting (0.4).

30 November 2023    Draft board resolutions for Plan supplement approval         R Szuba               1.70            1,938.00
                    (0.5); correspond with M. Leonard re: same (0.2); draft
                    board presentation (0.5); correspond with company re:
                    board presentation and related materials (0.3); draft



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                     correspondence re: post-effective         date   Debtors
                     amount and claim reserve (0.2).

SUBTOTAL: Corporate Advice & Board Meetings                                                            33.30           50,901.00


Exclusivity, Plan & Disclosure Statement
1 November 2023      Call with B. Silverberg (Brown Rudnick) re: Equity           D Turetsky            1.70            2,975.00
                     Committee Plan support letter (0.1); calls with R.
                     Kampfner (W&C) re: Plan confirmation issues (0.4);
                     review and comment re: Equity Committee Plan
                     support letter (0.2); emails to B. Silverberg (Brown
                     Rudnick) re: Equity Committee support letter (0.2); call
                     with M. Patterson (Womble) and D. Kim (W&C) re:
                     solicitation issues (0.1); further call with B. Silverberg
                     (Brown Rudnick) and R. Kampfner (W&C) re: Equity
                     Committee support letter (0.2); further analysis re: Plan
                     confirmation issues (0.4); further call M. Patterson
                     (Womble) re: solicitation order (0.1).

1 November 2023      Calls with D. Turetsky re: solicitation/confirmation         R Kampfner            1.00            1,590.00
                     issues (0.4); review Equity Committee solicitation letter
                     (0.6).

1 November 2023      Call with R. Kampfner, D. Kim and R. Szuba re: Plan          F He                  0.70                917.00
                     solicitation matters and strategy (0.4); confer with D.
                     Kim and R. Szuba re: solicitation issues (0.3).

1 November 2023      Call with F. He, R. Szuba, R. Kampfner re: solicitation      D Kim                 2.20            2,794.00
                     matters and other strategic issues (0.4); calls with M.
                     Patterson (WBD) re: solicitation order (0.2); call with D.
                     Turetsky, M. Patterson re: Equity Committee letter
                     (0.1); review final solicitation packages (1.0);
                     correspond with KCC with instructions for same (0.2);
                     provide responses to A. Estrada (KCC) re: solicitation-
                     related inquiries (0.3).

1 November 2023      Attend Plan strategy call with R. Kampfner, F. He, and       R Szuba               2.00            2,280.00
                     D. Kim (0.4); prepare solicitation version of Plan for
                     filing (0.2); prepare solicitation version of Disclosure
                     Statement for filing (0.3); correspond with F. He re:
                     same (0.1); correspond with Womble team re: same
                     (0.3); cause solicitation versions to be filed (0.1);
                     correspond with F. He and D. Kim re: Disclosure
                     Statement order issues (0.2); review correspondence
                     with KCC re: solicitation (0.2); draft correspondence to
                     KCC re: solicitation (0.2).

1 November 2023      Update solicitation packages.                                L Mezei               0.90                918.00

2 November 2023      Email to J. Zakia (W&C) and R. Kampfner (W&C) re:            D Turetsky            1.10            1,925.00
                     confirmation preparation issues (0.1); email to F. He
                     (W&C) and D. Kim (W&C) re: Plan confirmation issues
                     (0.1); further analysis re: Plan confirmation issues
                     (0.3); call with J. Zakia (W&C) and R. Kampfner (W&C)
                     re: Plan confirmation strategy issues (0.6).

2 November 2023      Confer with D. Turetsky and R. Kampfner re:                  J Zakia               0.60            1,050.00
                     confirmation case strategy.



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2 November 2023    Review/work to resolve disputes re: Equity Committee         R Kampfner            0.80            1,272.00
                   solicitation letter.

2 November 2023    Prepare Plan effective date check list (0.5); confer with    F He                  0.70                917.00
                   D. Kim re: same (0.2).

2 November 2023    Review and draft closing checklist re: Plan                  D Kim                 3.10            3,937.00
                   confirmation (0.6); correspond with F. He re: same
                   (0.1); review/comment voting amount spreadsheet
                   (0.6); confer with D. Turetsky, R. Kampfner and team
                   re: same (0.2); calls and correspondence with A.
                   Estrada (KCC) re: solicitation matters (0.6); confer with
                   F. He re: finalization of solicitation packages (0.2);
                   review and finalize solicitation version of Equity
                   Committee letter (0.1); correspond with Equity
                   Committee counsel re: same (0.1); review and finalize
                   solicitation version of company letter (0.1); correspond
                   with M. Leonard re: same (0.1); review and finalize
                   solicitation version of Creditors' Committee letter (0.1);
                   correspond with Creditors' Committee counsel re:
                   same (0.1); confer with M. Patterson re: finalization of
                   solicitation materials (0.2).

2 November 2023    Attend Plan strategy call with F. He, D. Kim, and R.         R Szuba               1.30            1,482.00
                   Kampfner (0.3); correspond with D. Kim and F. He re:
                   Plan       process     workstreams    (0.2);   review
                   correspondence from D. Turetsky re: same (0.2);
                   correspond with Equity Committee counsel (B.
                   Silverberg) re: Equity Committee support letter (0.1);
                   review same (0.1); confer with D. Kim re: solicitation
                   process (0.2); review correspondence with KCC re:
                   solicitation process (0.2).

3 November 2023    Further analysis re: Plan confirmation issues (0.2);         D Turetsky            0.30                525.00
                   emails to D. Kim (W&C) re: Plan confirmation
                   publication notice issues (0.1).

3 November 2023    Continue work on Plan solicitation issues.                   R Kampfner            0.90            1,431.00

3 November 2023    Correspond with A. Estrada (KCC) re: publication             D Kim                 1.30            1,651.00
                   notice (0.2); review publication proofs for same (0.3);
                   correspond with D. Turetsky, F. He re: publication
                   issues (0.1); further correspondence and calls with
                   KCC re: solicitation process and matters (0.4); review
                   and revise confirmation closing list (0.3).

6 November 2023    Call with R. Kampfner (W&C) re: Plan confirmation            D Turetsky            1.00            1,750.00
                   issues (0.3); further research/analysis re: 510(b) Plan
                   treatment issues (0.7).

6 November 2023    Call with D. Turetsky re: Plan confirmation issues.          R Kampfner            0.30                477.00

6 November 2023    Correspond with A. Estrada re: solicitation status and       D Kim                 0.80            1,016.00
                   related matters (0.3); further review and revise draft
                   work in progress tracker re: Plan confirmation (0.3);
                   analyze confirmation timeline and related deadlines
                   (0.2).

6 November 2023    Correspond with L. Mezei re: confirmation order and          R Szuba               0.80                912.00



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                    confirmation brief (0.3); research re: same (0.3); confer
                    with F. He re: same (0.2).

6 November 2023     Draft confirmation order.                                     L Mezei               1.10            1,122.00

7 November 2023     Call with J. Zakia (W&C) re: Plan confirmation strategy       D Turetsky            1.00            1,750.00
                    issues (0.1); call with B. Silverberg (Brown Rudnick)
                    re: Plan issues (0.2); further analysis re: Plan issues
                    (0.7).

7 November 2023     Confer with D. Turetsky re: Plan confirmation strategy.       J Zakia               0.10                175.00

9 November 2023     Review and comment re: Plan confirmation planning             D Turetsky            1.60            2,800.00
                    steps document (0.2); email to F. He (W&C) re: same
                    (0.1); further analysis re: Plan release issues (0.2); call
                    with J. Zakia (W&C) re: Plan release issues (0.2);
                    further analysis re: additional Plan confirmation issues
                    (0.5); calls with R. Kampfner (W&C) re: Plan
                    solicitation issues (0.2) and additional Plan issues
                    (0.2).

9 November 2023     Confer with D. Turetsky re: Plan issues.                      J Zakia               0.20                350.00

9 November 2023     Calls with D. Turetsky (W&C) re: Plan solicitation            R Kampfner            0.40                636.00
                    issues (0.2) and additional Plan issues (0.2).

9 November 2023     Confer with R. Szuba re: Plan issues and workstreams          F He                  1.10            1,441.00
                    (0.4); review and revise Plan workstreams (0.4); confer
                    with Committees re: Plan issues (0.3).

9 November 2023     Calls and correspondence with A. Estrada re:                  D Kim                 0.60                762.00
                    solicitation progress and issues (0.2); review draft Plan
                    closing checklist (0.2); correspond with F. He and R.
                    Szuba re: same (0.2).

9 November 2023     Call with F. He re: Plan confirmation issues (0.4);           R Szuba               2.40            2,736.00
                    research re: declarations in support of confirmation
                    (0.3); draft and review company declaration in support
                    of confirmation (0.2); draft and review financial advisor
                    declaration in support of confirmation (0.2); review
                    claims with attention to proper classification for voting
                    (0.7); draft chart re: same (0.4); confer with F. He re:
                    same (0.2).

9 November 2023     Continue drafting confirmation order.                         L Mezei               3.80            3,876.00

10 November 2023    Calls with R. Kampfner (W&C) re: Plan confirmation            D Turetsky            1.60            2,800.00
                    issues (0.5); call with J. Zakia (W&C) re: Plan
                    confirmation issues (0.2); further research/analysis re:
                    Plan confirmation issues (0.9).

10 November 2023    Calls with D. Turetsky (W&C) re: Plan confirmation            R Kampfner            0.50                795.00
                    issues.

10 November 2023    Call with S. Koehller and A. Cammes re: Plan GUC              R Szuba               0.90            1,026.00
                    reserve (0.6); review Plan re: same (0.2); call with F.
                    He re: same (0.1).



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10 November 2023    Continue drafting confirmation order (0.3); circulate       L Mezei               0.40                408.00
                    same internally (0.1).

13 November 2023    Review and revise draft confirmation order (2.1);           D Kim                 2.30            2,921.00
                    correspond with L. Mezei, R. Szuba re: same (0.2).

13 November 2023    Correspond with S. Ludovici re: Plan provisions re:         R Szuba               0.10                114.00
                    professionals fee escrow.

14 November 2023    Call with R. Kampfner (W&C) re: Plan issues (0.1); call     D Turetsky            1.40            2,450.00
                    with W&C team (R. Kampfner, F. He, R. Szuba, D.
                    Kim) re: Plan confirmation issues (0.6); call with J.
                    Zakia (W&C) re: Plan confirmation issues (0.1); further
                    analysis re: Plan confirmation issues (0.6).

14 November 2023    Attend call with D. Turetsky, D. Kim, F. He, R. Szuba       R Kampfner            0.70            1,113.00
                    re: Plan implementation issues (0.6); further call with
                    D. Turetsky re: Plan issues (0.1).

14 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.           F He                  0.80            1,048.00
                    Szuba re: various Plan issues and strategy (0.6);
                    research re: solicitation issues (0.2).

14 November 2023    Further review and revise draft confirmation order          D Kim                 3.20            4,064.00
                    (1.3); draft schedule of retained causes of action (0.7);
                    further review/analysis re: issues re: same (0.4); team
                    call with D. Turetsky, R. Kampfner, F. He, R. Szuba re:
                    Plan supplement and other case strategies (0.8).

14 November 2023    Research re: retained causes of action issues (0.1);        R Szuba               2.70            3,078.00
                    correspond with D. Kim re: same (0.1); draft Plan
                    confirmation work in progress tracker (0.2); correspond
                    with D. Kovsky, B. Silverberg and Equity Committee
                    and Creditors’ Committee teams re: Plan confirmation
                    timeline and documents (0.3); review retained causes
                    of action Plan supplement (0.2); attend call with R.
                    Kampfner, D. Turetsky, and F. He re: Plan
                    confirmation timeline and documents (0.6); correspond
                    with D. Kovsky re: claims ombudsman identity (0.1);
                    draft declarations in support of confirmation (0.8);
                    research re: issues re: same (0.3).

14 November 2023    Draft confirmation brief.                                   L Mezei               3.60            3,672.00

15 November 2023    Call with F. He (W&C) re: solicitation issues (0.1);        D Turetsky            1.20            2,100.00
                    email to R. Hamilton (Jefferies) and J. Finger
                    (Jefferies) re: Plan confirmation issues (0.1); call with
                    J. Zakia (W&C) re: Plan confirmation/litigation issues
                    (0.2); call with R. Kampfner (W&C) re: Plan issues
                    (0.4); further research/analysis re: Plan solicitation
                    issues (0.4).

15 November 2023    Attend call with D. Turetsky re: Plan issues.               R Kampfner            0.40                636.00

15 November 2023    Confer with D. Turetsky re: Plan issues (0.1); confer       F He                  1.40            1,834.00
                    with R. Szuba re: same (0.2); research re: Plan issues
                    (0.6); follow up discussion with R. Szuba re: same
                    (0.5).



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15 November 2023    Revise retained causes of action schedule (1.5);             D Kim                 3.10            3,937.00
                    correspond with F. He, R. Szuba re: same (0.3);
                    review and provide further comments to draft
                    confirmation order (1.3).

15 November 2023    Research re: solicitation issues adverse change (1.7);       R Szuba               6.80            7,752.00
                    draft analysis re: same (0.4); draft correspondence to
                    D. Turetsky and R. Kampfner re: same (0.2); attend
                    call with F. He re: claims reserve (0.7); draft
                    correspondence to counsel to Equity Committee re:
                    Plan confirmation issues (0.2); draft Confirmation
                    Order (2.2); review/revise Plan and Disclosure
                    Statement re: same (0.7); correspond with F. He, D.
                    Kim, and L. Mezei re: same (0.1); revise retained
                    causes of action (0.5); draft correspondence to F. He
                    and D. Kim re: same (0.1).

15 November 2023    Continue drafting confirmation brief (3.6) and circulate     L Mezei               4.20            4,284.00
                    same to W&C team (0.2); research solicitation issues
                    (0.4).

16 November 2023    Call with W&C team (D. Kim, R. Szuba, R. Kampfner,           D Turetsky            1.60            2,800.00
                    F. He) re: confirmation issues and strategy (0.4);
                    emails to F. He (W&C) re: Plan issues (0.1); further
                    call with R. Kampfner (W&C) re: Plan issues (0.1); call
                    with R. Winning (M3) re: Plan issues (0.5); (partial) call
                    with Troutman (D. Kovsky and F. Lawall) and W&C (R.
                    Kampfner, R. Szuba, and others) re: Plan
                    supplement/checklist issues (0.2); call with Jefferies (J.
                    Finger, R. Hamilton, and L. Hultgren) and R. Kampfner
                    (W&C) re: Plan issues (0.3).

16 November 2023    Call with Jefferies re: confirmation issues.                 J Zakia               0.50                875.00

16 November 2023    Call re: Plan documents with Committee.                      R Kampfner            0.70            1,113.00

16 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.            F He                  2.00            2,620.00
                    Szuba re: various developments and strategy (0.4);
                    review and revise Plan supplement material (0.9);
                    confer with Creditors’ Committee re: Plan issues (0.3);
                    conference call with D. Turetsky, R. Kampfner (W&C)
                    and Creditors’ Committee re: Plan issues (0.4).

16 November 2023    Call with R. Kampfner, F. He, R. Szuba re:                   D Kim                 0.40                508.00
                    confirmation-related issues and strategy.

16 November 2023    Call with Creditors’ Committee counsel, D. Turetsky,         D Kim                 1.60            2,032.00
                    R. Kampfner and team re: Plan supplement (0.7);
                    review and revise Plan supplement tracker (0.3);
                    correspond with F. He re: draft confirmation brief (0.1);
                    review and revise same (0.5).

16 November 2023    Attend confirmation strategy call with D. Turetsky, R.       R Szuba               2.30            2,622.00
                    Kampfner, F. He and D. Kim (0.4); correspond with F.
                    He and D. Kim re: confirmation order and Plan
                    supplement (0.3); further draft/revise retained causes
                    of action supplement (0.5); email to D. Turetsky and R.
                    Kampfner re: confirmation order and retained causes
                    of action supplement (0.2); review/analysis of issues



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                    re: correspondence from counsel to Creditors’
                    Committee re: Plan confirmation checklist and
                    planning (0.1); attend call with D. Turetsky, R.
                    Kampfner and D. Kovsky, Creditors’ Committee re:
                    Plan documents work in progress (0.5); draft and
                    review Plan documents work in progress (0.2);
                    correspond with B. Silverberg and Equity Committee
                    re: same (0.1).

17 November 2023    Call with J. Zakia (W&C) re: Plan confirmation issues        D Turetsky            0.50                875.00
                    (0.2); further analysis re: Plan confirmation issues
                    (0.3).

17 November 2023    Confer with D. Turetsky re: Plan confirmation strategy.      J Zakia               0.20                350.00

17 November 2023    Review and revise confirmation task list (0.2); review       D Kim                 2.50            3,175.00
                    and revise draft confirmation brief (1.7); confer with F.
                    He re: same (0.1); further review and revise portions of
                    confirmation order (0.5).

17 November 2023    Correspond with counsel to Creditors’ Committee and          R Szuba               0.90            1,026.00
                    Equity Committee re: Plan confirmation issues (0.3);
                    further analysis re: issues re: same (0.2); revise Plan
                    confirmation work in progress re: same (0.2);
                    correspond with Equity Committee counsel re: Plan
                    confirmation issues (0.1); correspond with Silverman
                    team re: same (0.1).

18 November 2023    Further analysis re: Plan confirmation issues (0.2); call    D Turetsky            0.40                700.00
                    with J. Zakia (W&C) re: Plan issues (0.2).

20 November 2023    Call with R. Kampfner (W&C) re: Plan issues (0.2); call      D Turetsky            0.60            1,050.00
                    with J. Zakia (W&C) re: Plan issues (0.1); review and
                    comment re: Retained Causes of Action schedule to
                    Plan supplement (0.3).

20 November 2023    Review/analysis re: Plan issues.                             R Kampfner            0.60                954.00

20 November 2023    Further revise draft confirmation brief (0.8); revise        D Kim                 2.10            2,667.00
                    retained causes of action schedule (0.5); confer with
                    R. Szuba re: same (0.1); correspond with A. Estrada
                    (KCC) re: preliminary voting reports (0.1); review initial
                    draft of same (0.5); correspond with D. Turetsky, R.
                    Kampfner and team re: same (0.1).

20 November 2023    Correspond with D. Turetsky, R. Kampfner, and J.             R Szuba               0.50                570.00
                    Zakia re: Plan issues (0.2); draft and review
                    confirmation order (0.3).

21 November 2023    Call with Brown Rudnick (J. Cushing, B. Silverberg, N.       D Turetsky            1.40            2,450.00
                    Bouchard), M3 (R. Winning), and W&C (R. Kampfner
                    and R. Szuba) re: Plan supplement issues (0.8); confer
                    with J. Zakia (W&C) re: Plan issues (0.2); call with R.
                    Kampfner (W&C) re: Plan issues (0.4).

21 November 2023    Confer with D. Turetsky re: Plan issues.                     J Zakia               0.30                525.00

21 November 2023    Research re: Plan issues.                                    F He                  0.30                393.00



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21 November 2023    Further review and revise draft confirmation brief (0.9);   D Kim                 1.40            1,778.00
                    review and analyze certain research re: same (0.5).

21 November 2023    Attend call with D. Turetsky, R. Kampfner, B.               R Szuba               1.60            1,824.00
                    Silverberg, and R. Winning re: Plan supplement and
                    miscellaneous issues (0.8); draft correspondence to D.
                    Ninivaggi and Company re: retained causes of action
                    supplement (0.1); review same (0.1); correspond with
                    Committees (D. Kovsky and B. Silverberg) re: same
                    (0.1); correspond with A. Kroll re: Plan contract
                    assumptions (0.1); call with D. Ninivaggi re: retained
                    causes of action (0.2); correspond with J. Zakia and D.
                    Turetsky re: same (0.2).

22 November 2023    Calls with J. Zakia (W&C) re: retained causes of action     D Turetsky            0.60            1,050.00
                    issues (0.3); further review retained causes of action
                    schedule (0.2); emails to J. Zakia (W&C) and R. Szuba
                    (W&C) re: retained causes of action issues (0.1).

22 November 2023    Calls with D. Turetsky re: retained causes of action        J Zakia               0.60            1,050.00
                    (0.3); review Plan supplement (0.3).

22 November 2023    Further draft/revise retained causes of action Plan         R Szuba               1.40            1,596.00
                    supplement (0.3); correspond with D. Turetsky, J.
                    Zakia, and R. Kampfner re: same (0.3); attend call with
                    D. Ninivaggi, J. Zakia and company re: same (0.7);
                    correspond with Company re: same (0.1).

23 November 2023    Emails to D. Ninivaggi (Lordstown) re: retained causes      D Turetsky            0.10                175.00
                    of action schedule.

27 November 2023    Email to F. He (W&C), D. Kim (W&C) and R. Szuba             D Turetsky            3.50            6,125.00
                    (W&C) re: Plan issues (0.2); call with B. Silverberg
                    (Brown Rudnick) re: Plan issues (0.2); review and
                    comment re: confirmation order (1.3); calls with R.
                    Kampfner (W&C) re: Plan issues (0.3); call with Allen &
                    Overy (J. Badtke, C. Newcomb, D. Guyder, and
                    others) and W&C teams (R. Kampfner and R. Szuba)
                    re: Foxconn Plan issues (0.8); calls with J. Zakia
                    (W&C) re: Plan issues (0.1); further call with B.
                    Silverberg (Brown Rudnick) and R. Winning (M3) re:
                    Foxconn Plan comments (0.6).

27 November 2023    Review Foxconn issues list and proof of claim.              J Zakia               0.60            1,050.00

27 November 2023    Attend call with Foxconn to discuss their Plan issues       R Kampfner            1.80            2,862.00
                    (0.9); work on Plan supplement (0.9).

27 November 2023    Confer with R. Szuba and D. Kim re: various Plan            F He                  0.50                655.00
                    supplement issues.

27 November 2023    Further review and revise Plan confirmation task list       D Kim                 2.20            2,794.00
                    (0.3); review and further revise draft confirmation order
                    (1.2); review Plan (0.2) and additional Plan-related
                    documents for same (0.3); correspond with D.
                    Turetsky, L. Mezei re: same (0.2).

27 November 2023    Attend call with D. Turetsky, R. Kampfner, and counsel      R Szuba               1.90            2,166.00



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                    to Foxconn re: Plan issues (0.9); prepare for same
                    (0.3); correspondence to D. Turetsky and W&C team
                    re: same (0.2); correspond with Creditors’ Committee
                    re: Plan supplements (0.1); correspond with Equity
                    Committee re: Plan supplements (0.1); correspond
                    with A. Kroll and Silverman team re: claims reserve
                    and post-effective date Debtors amount (0.2);
                    correspond with D. Turetsky and W&C team re: same
                    (0.1).

27 November 2023    Revise confirmation order.                                  L Mezei               2.40            2,448.00

28 November 2023    Email to A. Cieply (W&C) re: Plan supplement                D Turetsky            3.80            6,650.00
                    organizational document issues (0.1); further analysis
                    re: Foxconn Plan issues (0.4); email memo to
                    Lordstown (D. Ninivaggi, M. Leonard, A. Kroll, and E.
                    Hightower) re: Foxconn Plan issues (0.5); further
                    analysis re: additional Plan issues (0.4); emails to R.
                    Szuba (W&C) re: Plan supplement issues (0.1); review
                    and comment re: Plan supplement documents (0.6);
                    further review confirmation order (0.4); call with W&C
                    team (R. Kampfner, D. Kim, F. He, and R. Szuba) re:
                    Plan supplement (0.5), confirmation order (0.1), and
                    Plan confirmation strategy (0.4) issues; further review
                    and comment re: confirmation order (0.2); email to D.
                    Kim (W&C) re: confirmation order (0.1).

28 November 2023    Call with Creditors’ Committee re: post-effective           R Kampfner            3.00            4,770.00
                    Debtors amount and other issues (0.9); review of Plan
                    supplement materials (2.1).

28 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.           F He                  2.50            3,275.00
                    Szuba re: Plan developments and strategy (0.5);
                    confer with A. Kroll and M. Port (Company) and C.
                    Tsitsis and S. Kohler (Silverman) and R. Szuba re:
                    Plan issues (1.0); revise Plan supplement notice and
                    exhibits (0.7); confer with D. Kim and R. Szuba re:
                    Plan issues (0.3).

28 November 2023    Conference call with D. Turetsky, R. Kampfner, F. He,       D Kim                 3.50            4,445.00
                    R. Szuba re: Plan strategy and updates (0.5); further
                    revise filing checklist re: Plan confirmation matters
                    (0.2); correspond with F. He, R. Szuba re: same (0.2);
                    review comments to draft confirmation order from
                    Debtors (0.5); further revise draft confirmation order
                    based on same (0.4); confer with D. Turetsky, R.
                    Kampfner re: same (0.2); review and further revise
                    draft confirmation brief (0.8); review and provide
                    comments to draft claims ombudsman agreement
                    (0.7).

28 November 2023    Attend Plan strategy call with R. Kampfner, D.              R Szuba               3.40            3,876.00
                    Turetsky, F. He, and D. Kim (0.5); call with A. Kroll, R.
                    Kampfner, and Silverman team re: claims reserve and
                    Plan confirmation process (0.5); confer with R.
                    Kampfner re: same (0.2); review correspondence from
                    D. Turetsky re: Foxconn Plan issues (0.1); correspond
                    with D. Kovsky re: confirmation order and retained
                    causes of action (0.2); correspond with B. Silverberg
                    re: confirmation order and retained causes of action
                    (0.1); review confirmation order (0.2); review draft of



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                    claims ombudsman agreement (0.3); review Foxconn
                    Plan comments (0.3); review and revise Plan
                    supplement (0.7); correspond with F. He re: same
                    (0.3).

29 November 2023    Review and analysis re: Foxconn Plan comments                D Turetsky            4.20            7,350.00
                    (0.3); emails to D. Ninivaggi (Lordstown), M. Leonard
                    (Lordstown) and others re: Foxconn Plan comments
                    (0.2); calls with B. Silverberg (Brown Rudnick) re: Plan
                    issues (0.9); emails to J. Herz (Allen Overy) re:
                    Foxconn Plan comments (0.1); call with D. Guyder
                    (Allen Overy) re: Foxconn Plan comments (0.1); call
                    with R. Kampfner (W&C) re: Plan issues (0.1); emails
                    to B. Silverberg (Brown Rudnick) re: Plan issues (0.2);
                    call with A. Cieply (W&C) re: Plan supplement issues
                    (0.1); emails to D. Ninivaggi (Lordstown) re: Plan
                    supplement issues (0.1); call with W&C team (R.
                    Kampfner, R. Szuba, D. Kim, and F. He) re: Plan
                    confirmation issues (0.6); call with J. Zakia (W&C) re:
                    post effective date Debtors amount issues (0.2); call
                    with A. Kroll (Lordstown) and J. Zakia (W&C) re: post
                    effective date Debtors amount (0.5); call with R. Szuba
                    (W&C) re: Plan supplement issues (0.1); further review
                    and comment re: Plan supplement documents (0.3);
                    further analysis re: additional Plan issues (0.4).

29 November 2023    Confer with client re: litigation reserve (0.5); confer      J Zakia               1.00            1,750.00
                    with Creditors' Committee re: litigation reserve (0.5).

29 November 2023    Work on Plan supplement (2.1); review issues re: post-       R Kampfner            3.00            4,770.00
                    effective Debtors amount (0.9).

29 November 2023    Confer with D. Turetsky re: Plan supplement questions        F He                  3.20            4,192.00
                    (0.3); confer with Equity Committee re: same (0.1);
                    review Plan supplement document (0.4); call with R.
                    Szuba re: Plan issues (0.3); review and revise
                    confirmation brief (1.9); confer with A. Cieply re: Plan
                    supplement documents (0.2).

29 November 2023    Review and analyze proposed comments from                    D Kim                 4.00            5,080.00
                    Foxconn re: Plan (0.4); further revise draft confirmation
                    order (0.5); review research re: releases and discharge
                    injunction in confirmation brief (0.9); correspond with F.
                    He re: revised confirmation brief (0.5); correspond with
                    K. Martin (KCC) re: equity solicitation issues (0.3);
                    correspond with Equity Committee re: same (0.2);
                    review revised Plan supplement notice (0.1);
                    correspondence with Creditors' Committee and Equity
                    Committee re: Plan supplement documents (0.4);
                    review draft new bylaws and other governance
                    documents (0.4); analyze revised voting report from
                    KCC (0.3).

29 November 2023    Call with D. Turetsky on claims reserve and Plan             R Szuba               3.80            4,332.00
                    issues (0.2); draft Plan supplement (0.6); correspond
                    with D. Turetsky and R. Kampfner re: same (0.3);
                    confer with F. He re: same (0.2); call with D. Ninivaggi
                    and A. Kroll re: post-effective date Debtors amount
                    and claims reserve (0.5); call with D. Turetsky, D.
                    Ninivaggi and A. Kroll re: Plan supplement, reserve,
                    and post-effective date Debtors amount (0.5); review



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                    certificate of incorporation and bylaws provided by
                    Equity Committee (0.3); correspond with D. Ninivaggi
                    and company re: same (0.2); research re: requirement
                    for shareholder meeting (0.3); review analysis from P.
                    Strom re: same (0.2); correspond with D. Turetsky, G.
                    Pryor, and J. Zakia re: same (0.2); review materials re:
                    reserve and post-effective date Debtors amount (0.3).

29 November 2023    Attend W&C team call re: Plan and objections.               J Yoo                 0.50                510.00

30 November 2023    Email to D. Dreier (W&C) re: Plan supplement/new            D Turetsky            3.60            6,300.00
                    organizational document tax issues (0.1); further
                    review and comment re: Plan supplement documents
                    (0.2); call with B. Silverberg (Brown Rudnick) re: Plan
                    issues (0.2); further call with B. Silverberg (Brown
                    Rudnick) and (partial) M. Sawyer (Brown Rudnick) re:
                    Plan issues (0.6); emails to A. Cieply (W&C) re: Plan
                    supplement/organizational document issues (0.1); call
                    with R. Kampfner (W&C) re: Plan issues (0.1); further
                    analysis re: Foxconn Plan issues (0.2); calls with A.
                    Kroll (Lordstown) re: post-effective date Debtors
                    amount (0.2); call with R. Kampfner (W&C) re: Plan
                    issues (0.3); call with W&C team (D. Kim, R. Szuba, F.
                    He, and R. Kampfner) re: Plan supplement issues
                    (0.2); call with D. Kovsky (Troutman) re: Plan
                    supplement issues (0.2); email to D. Ninivaggi
                    (Lordstown), A. Kroll (Lordstown) and others re: post
                    effective date Debtors amount issues (0.2); emails to
                    R. Szuba (W&C) re: Plan supplement issues (0.1);
                    further analysis re: Post-Effective Date Debtors
                    amount issues (0.5); further analysis re: additional
                    Plan issues (0.3); call with A. Kroll (Lordstown) re:
                    post-effective date Debtors amount issues (0.1).

30 November 2023    Review revised Plan supplement and waterfall                J Zakia               0.80            1,400.00
                    documents (0.6); confer with D. Turetsky re: same
                    (0.2).

30 November 2023    Call with D. Turetsky, R. Kampfner, D. Kim and R.           F He                  3.10            4,061.00
                    Szuba re: Plan developments and strategy (0.5);
                    confer with company re: Plan supplement issues (0.1);
                    confer with A. Cieply re: same (0.2); call with R. Szuba
                    and D. Kim re: Plan issues (0.5); review and revise
                    confirmation brief (1.8).

30 November 2023    Review revised draft Plan supplemental notice (0.2);        D Kim                 1.70            2,159.00
                    discuss with F. He, R. Szuba re: revisions to draft
                    confirmation order (0.2); further review revised draft of
                    confirmation order (0.5); further revise draft Plan
                    supplement checklist (0.3); team call with F. He, R.
                    Szuba, R. Kampfner re: Plan updates and ongoing
                    case strategy (0.5).

30 November 2023    Attend Plan strategy call with R. Kampfner, D.              R Szuba               3.60            4,104.00
                    Turetsky, F. He, and D. Kim (0.5); draft Plan
                    supplement notice and exhibits thereto (0.8);
                    correspond with D. Turetsky and R. Kampfner re:
                    same (0.3); review analysis re: post-effective date
                    Debtors amount from P. Strom (0.2); correspond with
                    D. Turetsky re: post-effective date Debtors amount and
                    claims reserve (0.2); correspond with D. Dreier and M.



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                       Iloegbunam re: confirmation order (0.2); revise
                       confirmation order (0.3); correspond with D. Turetsky
                       re: same (0.2); correspond with M. Patterson and
                       Womble team re: Plan supplement and confirmation
                       order filing (0.2); draft chart re: Plan supplement filing
                       (0.2); draft correspondence to D. Ninivaggi and
                       company re: Plan supplement filing (0.3); review notice
                       of filing of confirmation order (0.2).

SUBTOTAL: Exclusivity, Plan & Disclosure Statement                                                      155.80          211,401.00


Executory Contracts & Unexpired Leases
1 November 2023        Email to F. He (W&C) re: contract rejection issues           D Turetsky            0.30                525.00
                       (0.1); further analysis re: contract rejection issues
                       (0.2).

1 November 2023        Confer with S. Kohler (Silverman) re: contract rejection     F He                  2.70            3,537.00
                       motion (0.5); research re: rejected contracts (0.4) and
                       confer with D. Turetsky re: same (0.2); confer with M.
                       Leonard and A. Kroll (Company) re: same (0.5); confer
                       with R. Szuba re: same (0.4); review final assumption
                       list for sale (0.4); confer with LAS/LandX counsel re:
                       same (0.3).

1 November 2023        Correspondence with F. He, R. Szuba re: final                D Kim                 0.20                254.00
                       proposed rejection list (0.1); review revised motion for
                       same (0.1).

1 November 2023        Draft first rejection motion (0.6); revise schedule re:      R Szuba               1.40            1,596.00
                       same (0.3); prepare rejection motion and schedule for
                       filing (0.2); correspond with M. Patterson and Womble
                       team re: filing same (0.2); correspond with counsel to
                       Committees re: same (0.1).

7 November 2023        Email to R. Kampfner (W&C) and J. Zakia (W&C) re:            D Turetsky            0.30                525.00
                       Foxconn contract issues (0.2); email to D. Guyder
                       (Allen Overy) re: Foxconn contract issues (0.1).

9 November 2023        Review correspondence re: Infosys agreements (0.2);          R Szuba               0.60                684.00
                       review rejection motion re: same (0.1); correspond with
                       Infosys counsel re: rejection of same (0.2); confer with
                       F. He re: same (0.1).

11 November 2023       Confer with D. Turetsky re: rejection of employment          F He                  0.30                393.00
                       contracts.

13 November 2023       Review and revise motion to reject certain contracts         F He                  1.70            2,227.00
                       (1.2); confer with P. Strom re: same (0.3); revise
                       exhibit (0.2).

15 November 2023       Review draft certificates of counsel re: rejection           D Kim                 0.10                127.00
                       motion.

15 November 2023       Draft and review motion to reject contracts (0.2);           R Szuba               0.30                342.00
                       correspond with F. He re: same (0.1).




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29 November 2023      Email to F. He (W&C), D. Kim (W&C) and R. Szuba               D Turetsky            0.10                175.00
                      (W&C) re: executory contract issues.

SUBTOTAL: Executory Contracts & Unexpired Leases                                                          8.00           10,385.00


Hearings & Court Matters
3 November 2023       Calls with M. Patterson (WBD) re: omnibus hearing             D Kim                 0.20                254.00
                      dates.

10 November 2023      Correspond with D. Turetsky re: Rule 7023 hearing             S Kaul                0.20                212.00
                      issues.

13 November 2023      Confer with D. Turetsky re: matters up for hearing.           F He                  0.40                524.00

17 November 2023      Confer with M. Patterson (Womble) re: hearing issues.         F He                  0.40                524.00

17 November 2023      Review draft agenda for Nov. 21 hearing (0.1);                D Kim                 0.20                254.00
                      correspondence with local counsel re: same (0.1).

20 November 2023      Review amended hearing agenda and preparation for             D Kim                 0.20                254.00
                      hearing (0.1); review entered orders and matters for
                      Nov. 21 hearing (0.1).

SUBTOTAL: Hearings & Court Matters                                                                        1.60            2,022.00


Insurance Issues
2 November 2023       Email to A. Kroll (Lordstown) and D. Ninivaggi                D Turetsky            0.20                350.00
                      (Lordstown) re: D&O insurance issues (0.1); calls with
                      J. Zakia (W&C) re: D&O insurance issues (0.1).

2 November 2023       Confer with D. Turetsky re: D&O insurance issues.             J Zakia               0.10                175.00

2 November 2023       Collect insurance information and policies applicable to      R Szuba               0.70                798.00
                      prepetition securities litigation (0.3); review same (0.2);
                      draft correspondence to counsel to directors and
                      officers re: same (0.1); confer with F. He re: same
                      (0.1).

7 November 2023       Confer with insurance counsel re: claims against              J Zakia               0.40                700.00
                      insurers.

8 November 2023       Confer with Aon re: responding to insurers questions          J Zakia               0.50                875.00
                      (0.4); draft email re: same (0.1).

9 November 2023       Confer with client and Aon re: insurance issues.              J Zakia               0.50                875.00

10 November 2023      Prepare for (0.1) and participate in call with Equity         J Zakia               1.00            1,750.00
                      Committee counsel re: insurance claims (0.6); call with
                      coverage counsel re: Equity Committee questions
                      (0.3).

13 November 2023      Confer with insurance carrier counsel re: potential           J Zakia               0.50                875.00
                      settlement.



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14 November 2023     Confer with Aon re: insurance issues.                        J Zakia               0.30                525.00

15 November 2023     Multiple calls with insurance coverage counsel re:           J Zakia               1.40            2,450.00
                     securities settlement (1.0); review and revise draft
                     letter to insurers (0.4).

15 November 2023     Research re: insurance claim issues.                         F He                  0.30                393.00

17 November 2023     Prepare for and participate in insurers call (0.7);          J Zakia               1.50            2,625.00
                     multiple pre-calls with Aon, client, and co-counsel
                     (0.8).

20 November 2023     Review and comment re: correspondence to insurance           D Turetsky            0.50                875.00
                     carrier re: company indemnification obligations in
                     chapter 11 (0.2); call with R. Szuba (W&C) re: same
                     (0.2); emails to R. Szuba (W&C) re: same (0.1).

20 November 2023     Confer with counsel to directors re: insurance issues        J Zakia               0.70            1,225.00
                     (0.4); review insurance correspondence (0.3).

20 November 2023     Draft analysis re: treatment of insurance defense costs      R Szuba               1.20            1,368.00
                     in chapter 11 (0.7); research re: same (0.3);
                     correspond with D. Turetsky, R. Kampfner and J. Zakia
                     re: same (0.1); correspond with M. Leonard re: same
                     (0.1).

21 November 2023     Prepare for (0.1) and participate in call with insurance     J Zakia               0.70            1,225.00
                     carriers re: potential securities settlement (0.5); review
                     correspondence re: same (0.1).

22 November 2023     Calls with insurance counsel re: potential settlement.       J Zakia               0.60            1,050.00

29 November 2023     Confer with insurers re: potential resolution (0.5);         J Zakia               0.90            1,575.00
                     follow up discussion with Aon re: same (0.4).

SUBTOTAL: Insurance Issues                                                                             12.00           19,709.00


Litigation
1 November 2023      Call with R. Kampfner (W&C) re: securities litigation        D Turetsky            0.30                525.00
                     settlement issues (0.2); calls with B. Silverberg (Brown
                     Rudnick) re: SEC claim issues (0.1).

1 November 2023      Review and revise opposition to Foxconn motion to            J Zakia               2.60            4,550.00
                     dismiss.

1 November 2023      Revise response to Foxconn motion to dismiss (1.4);          J Green               4.20            5,502.00
                     research and analysis of record and case law re: same
                     (2.8).

2 November 2023      Call with B. Silverberg (Brown Rudnick) re: securities       D Turetsky            0.20                350.00
                     litigation issues.

2 November 2023      Review/comment response to Foxconn motion to                 R Kampfner            2.60            4,134.00
                     dismiss.




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2 November 2023    Further revise response to motion to dismiss (1.5);          J Green                  3.80            4,978.00
                   further research and analysis of record and case law in
                   connection therein (2.3).

3 November 2023    Call with J. Zakia (W&C) re: securities litigation           D Turetsky               1.20            2,100.00
                   settlement issues (0.1); review and comment re:
                   objection to Foxconn motion to dismiss adversary
                   proceeding (0.7); calls with J. Zakia (W&C) re: litigation
                   preservation issues (0.4); further analysis re: claims
                   objection issues (0.2).

3 November 2023    Review and revise response to motion to dismiss and          J Zakia                  1.80            3,150.00
                   draft committee joinder (1.7); call with D. Turetsky re:
                   securities litigation settlement issues (0.1).

3 November 2023    Revised response to motion to dismiss (1.3); review          J Green                  3.40            4,454.00
                   and analysis of record and case law in connection
                   therein (2.1).

4 November 2023    Review and analysis of motion to dismiss.                    J Green                  0.40                524.00

5 November 2023    Review and analysis of motion to dismiss.                    J Green                  0.60                786.00

6 November 2023    Call     with    J.   Zakia   (W&C)      re:   securities    D Turetsky               0.10                175.00
                   litigation/settlement issues.

6 November 2023    Review and revise opposition to motion to dismiss            J Zakia                  1.90            3,325.00
                   (1.2); confer with J. Green and client re: same (0.6);
                   call with D. Turetsky re: securities litigation settlement
                   issues (0.1).

6 November 2023    Review, revise and finalize objection to Foxconn             J Green                  6.70            8,777.00
                   motion to dismiss (5.3); further research of record and
                   authorities cited therein (1.4).

6 November 2023    Research in connection with opposition to Foxconn            A Padmanabhan            4.60            3,404.00
                   motion to dismiss.

7 November 2023    Calls with D. Ninivaggi (Lordstown) re: securities           D Turetsky               0.50                875.00
                   settlement issues.

7 November 2023    Email with D. Turetsky (W&C) and J. Zakia (W&C) re:          R Kampfner               0.20                318.00
                   Foxconn contract issues.

8 November 2023    Prepare for and participate in call with Creditors’          J Zakia                  1.50            2,625.00
                   Committee counsel re: securities settlement status
                   (0.4); confer with counsel for individual directors re:
                   settlement status (0.4); confer with plaintiffs' counsel
                   re: status (0.4); confer with Equity Committee counsel
                   re: settlement status (0.3).

9 November 2023    Calls with J. Zakia             (W&C)    re:   securities    D Turetsky               0.20                350.00
                   litigation/settlement issues.

9 November 2023    Call with client re: litigation reserve (0.6); confer with   J Zakia                  3.80            6,650.00
                   opposing counsel re: securities claim settlement (0.5);
                   confer with Equity Committee counsel re: securities



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                    settlement (0.3); confer with Winston re: timing of
                    investigation (0.2); confer with D. Turetsky re:
                    securities litigation issues (0.1); confer with directors'
                    counsel re: indemnification claims (0.4); review and
                    revise claims objection (1.5); confer with D. Turetsky
                    re: class claim issues (0.2).

10 November 2023    Calls with J. Zakia (W&C) re: securities settlement           D Turetsky            0.40                700.00
                    issues (0.2); call with R. Kampfner (W&C) re:
                    securities litigation issues (0.2).

10 November 2023    Prepare for (0.7) and participate in meeting with Equity      J Zakia               2.60            4,550.00
                    Committee counsel re: 10b5 claims (0.7); call with
                    opposing counsel re: securities settlement status (0.3);
                    confer with D. Turetsky re: litigation strategy (0.6);
                    confer with directors' counsel re: securities settlement
                    (0.3).

10 November 2023    Call with D. Turetsky (W&C) re: securities litigation         R Kampfner            0.20                318.00
                    issues.

13 November 2023    Calls with D. Ninivaggi (Lordstown) re: securities            D Turetsky            0.90            1,575.00
                    litigation settlement issues (0.4); further analysis re:
                    securities settlement issues (0.3); call with R.
                    Kampfner (W&C) re: securities settlement issues (0.2).

13 November 2023    Confer with plaintiffs' counsel re: potential settlement      J Zakia               1.60            2,800.00
                    (0.6); prepare for and participate in SEC call re: status
                    (0.5); confer with R. Kampfner re: potential settlement
                    (0.5).

13 November 2023    Call with J. Zakia re: potential section 510(b)               R Kampfner            0.50                795.00
                    settlement.

14 November 2023    Calls with J. Zakia (W&C) re: Labaton securities              D Turetsky            0.90            1,575.00
                    litigation/settlement issues (0.4); call with B. Silverberg
                    (Brown Rudnick) re: SEC/securities litigation issues
                    (0.1); further call with R. Kampfner (W&C) re:
                    securities/class settlement issues (0.2); further
                    analysis re: securities settlement issues (0.2).

14 November 2023    Confer with plaintiffs' counsel re: Labaton settlement        J Zakia               1.10            1,925.00
                    (0.3); confer with directors' counsel re: settlement
                    status (0.4); confer with D. Turetsky re: securities
                    litigation/settlement issues (0.4).

15 November 2023    Calls with J. Zakia (W&C) re: securities settlement           D Turetsky            0.30                525.00
                    issues.

15 November 2023    Call with plaintiffs' counsel re: securities settlement       J Zakia               0.70            1,225.00
                    (0.4); confer with D. Turetsky re: litigation strategy
                    (0.3).

16 November 2023    Calls with J. Zakia (W&C) re: securities litigation issues    D Turetsky            2.50            4,375.00
                    (0.3); call with Brown Rudnick (R. Stark, B. Silverberg,
                    S. Dwoskin) and J. Zakia (W&C) re: securities
                    litigation/settlement issues (1.2); further calls with J.
                    Zakia (W&C) and (partial) R. Kampfner (W&C) re:



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                    securities litigation/settlement issues (1.0).

16 November 2023    Confer with Equity Committee counsel re: settlement           J Zakia               2.30            4,025.00
                    (1.2); confer with client re: litigation strategy (0.8);
                    confer with D. Turetsky re: litigation strategy (0.3).

17 November 2023    Confer with Equity Committee counsel re: potential            J Zakia               0.60            1,050.00
                    Labaton settlement (0.2); confer with directors' counsel
                    re: potential settlement (0.4).

17 November 2023    Review potential settlement with securities claims            R Kampfner            0.90            1,431.00
                    claimants.

18 November 2023    Calls with J. Zakia (W&C) re: Foxconn litigation issues       D Turetsky            0.30                525.00
                    (0.2) and securities litigation/settlement issues (0.1).

18 November 2023    Confer with client re: litigation strategy (1.2); confer      J Zakia               2.10            3,675.00
                    with counsel for Equity Committee re: securities
                    settlement (0.2); confer with counsel for directors re:
                    potential settlement (0.4); confer with D. Turetsky re:
                    litigation strategy (0.3).

19 November 2023    Call     with    J.   Zakia   (W&C)       re:    securities   D Turetsky            0.20                350.00
                    litigation/settlement issues.

19 November 2023    Review issues        re:   potential   securities   claims    R Kampfner            0.40                636.00
                    settlement.

20 November 2023    Calls with J. Zakia (W&C) re: securities                      D Turetsky            1.10            1,925.00
                    litigation/settlement issues (0.6); call with D. Ninivaggi
                    (Lordstown) re: securities settlement issues (0.2); call
                    with B. Silverberg (Brown Rudnick) re: securities claim
                    settlement issues (0.3).

20 November 2023    Confer with D. Turetsky re: securities/settlement             J Zakia               1.10            1,925.00
                    issues (0.6); confer with client re: securities settlement
                    (0.5).

20 November 2023    Research re: securities class claim treatment.                R Szuba               0.50                570.00

21 November 2023    Call with J. Zakia (W&C) re: Foxconn litigation issues        D Turetsky            0.30                525.00
                    (0.1); further analysis re: securities settlement issues
                    (0.2).

21 November 2023    Confer with D. Turetsky re: Foxconn litigation issues.        J Zakia               0.20                350.00

22 November 2023    Confer with directors' counsel re: settlement.                J Zakia               0.40                700.00

24 November 2023    Calls with J. Zakia (W&C) re: securities litigation           D Turetsky            0.30                525.00
                    settlement issues.

24 November 2023    Confer with client re: securities settlement (1.0); confer    J Zakia               1.50            2,625.00
                    with Equity Committee counsel re: same (0.2); confer
                    with plaintiffs' counsel re: same (0.3).

25 November 2023    Call with D. Ninivaggi (Lordstown) and J. Zakia (W&C)         D Turetsky            0.90            1,575.00



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                    re: securities litigation settlement issues (0.7); further
                    call with J. Zakia (W&C) re: securities settlement
                    issues (0.2).

25 November 2023    Participate in client call with D. Turetsky re: securities     J Zakia               0.90            1,575.00
                    settlement (0.7); confer with D. Turetsky re: same
                    (0.2).

27 November 2023    Calls with J. Zakia (W&C) re: securities litigation            D Turetsky            1.80            3,150.00
                    settlement issues (0.7); further analysis re: issues re:
                    securities settlement issues (0.2); call with Brown
                    Rudnick (R. Stark, B. Silverberg) and J. Zakia (W&C)
                    re: securities settlement/SEC issues (0.9).

27 November 2023    Prepare for call with Equity Committee counsel (0.1);          J Zakia               2.30            4,025.00
                    participate in call with Equity Committee counsel re:
                    securities settlement (0.9); confer with D. Turetsky re:
                    same (0.4); confer with counsel for directors re:
                    securities settlement (0.4); confer with Dechert re:
                    securities settlement (0.5).

27 November 2023    Review implementation of potential securities claim            R Kampfner            0.80            1,272.00
                    settlement.

28 November 2023    Calls with J. Zakia (W&C) re: securities litigation            D Turetsky            1.20            2,100.00
                    settlement issues (0.6); further call with R. Kampfner
                    (W&C) and J. Zakia (W&C) re: securities litigation/SEC
                    settlement issues (0.4); review and comment re:
                    proposed response to SEC re: Delaware litigation
                    issues (0.1); emails to R. Stark (Brown Rudnick) and
                    B. Silverberg (Brown Rudnick) re: securities litigation
                    settlement/SEC issues (0.1).

28 November 2023    Confer with client re: litigation strategy (0.6); confer       J Zakia               4.00            7,000.00
                    with Creditors’ Committee counsel re: securities
                    settlement (0.6); conferences with client re: litigation
                    strategy (1.0); confer with client and Winston re:
                    investigation (0.5); confer with directors' counsel re:
                    settlement (0.3); call with D. Turetsky re: securities
                    litigation settlement issue (0.6); further call with D.
                    Turetsky and R. Kampfner re: same (0.4).

29 November 2023    Call with J. Zakia (W&C) re: securities litigation             D Turetsky            0.50                875.00
                    settlement issues (0.2); further analysis re: securities
                    litigation settlement issues (0.3).

29 November 2023    Confer with client re: litigation strategy (0.8); confer       J Zakia               2.70            4,725.00
                    with plaintiffs' counsel re: securities settlement (0.6);
                    multiple conferences with D. Turetsky re: litigation
                    strategy (0.2); confer with directors' counsel re:
                    settlement (0.5); confer with client re: litigation strategy
                    (0.6).

30 November 2023    Calls with J. Zakia (W&C) re: securities litigation            D Turetsky            2.60            4,550.00
                    settlement issues (0.6); further analysis re: derivative
                    claim/release issues (0.3); call with D. Ninivaggi
                    (Lordstown) re: securities litigation settlement/SEC
                    issues (0.1); email to B. Silverberg (Brown Rudnick) re:
                    securities litigation/SEC settlement issues (0.1); calls



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                       with B. Silverberg (Brown Rudnick) re: securities
                       litigation settlement issues (0.9); further analysis re:
                       securities litigation settlement issues (0.6).

30 November 2023       Confer with client re: securities settlement and case      J Zakia               2.90            5,075.00
                       strategy (0.9); confer with D. Turetsky re: litigation
                       strategy and securities settlement (0.6); confer with
                       directors counsel re: settlement (0.5); prepare for and
                       participate in SEC call (0.5); review Hudson response
                       letter, confer with co-counsel re: same (0.4).

30 November 2023       Review and analysis of Foxconn's reply brief.              J Green               2.10            2,751.00

SUBTOTAL: Litigation                                                                                   87.20          137,425.00


Professional Retention & Fees – W&C
2 November 2023        Review and comment re: W&C September monthly fee           D Turetsky            0.40                700.00
                       application.

3 November 2023        Draft interim fee application.                             L Mezei               2.10            2,142.00

7 November 2023        Review pro forma time entries or expense entries for       S Ludovici            1.40            1,736.00
                       October monthly fee statement for privilege and
                       confidentiality (0.9); revise September monthly fee
                       application (0.3); revise interim fee application (0.2).

9 November 2023        Further review and comment re: W&C September fee           D Turetsky            0.70            1,225.00
                       application (0.6); email to S. Ludovici (W&C) re: same
                       (0.1).

9 November 2023        Review CNO for W&C monthly fee application (0.1);          S Ludovici            0.50                620.00
                       revise September monthly fee application (0.2); review
                       W&C interim fee application (0.2).

11 November 2023       Revise interim fee application.                            S Ludovici            1.10            1,364.00

12 November 2023       Emails to S. Ludovici (W&C) re: W&C first interim fee      D Turetsky            0.60            1,050.00
                       application (0.2); review and comment re: W&C first
                       interim fee application (0.4).

12 November 2023       Further revise interim fee application.                    S Ludovici            0.40                496.00

13 November 2023       Review and comment re: W&C first interim fee               D Turetsky            0.50                875.00
                       application (0.3); email to D. Ninivaggi (Lordstown) and
                       M. Leonard (Lordstown) re: first interim fee application
                       (0.1); emails to S. Ludovici (W&C) re: first interim fee
                       application (0.1).

14 November 2023       Further review and comment re: first interim W&C fee       D Turetsky            0.40                700.00
                       application (0.3); emails to S. Ludovici (W&C) re: first
                       interim W&C fee application (0.1).

15 November 2023       Email with D. Turetsky re: October monthly fee             S Ludovici            0.60                744.00
                       application (0.1); review pro forma time entries for
                       October monthly fee statement for privilege and



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                      confidentiality (0.5).

24 November 2023      Emails with D. Turetsky re: monthly fee application        S Ludovici            0.70                868.00
                      (0.2); revise monthly fee application (0.5).

26 November 2023      Email to D. Turetsky re: revised monthly fee               S Ludovici            0.30                372.00
                      application (0.1); revise October monthly fee
                      application (0.2).

28 November 2023      Review and        comment   re:   W&C     October    fee   D Turetsky            0.50                875.00
                      application.

28 November 2023      Revise monthly fee statement (0.2); emails with D.         S Ludovici            0.50                620.00
                      Turetsky re: same (0.1); draft email to client re: same
                      (0.2).

30 November 2023      Further review and comment re: W&C October fee             D Turetsky            0.30                525.00
                      application.

30 November 2023      Finalize October fee statement for filing (0.2); review    S Ludovici            2.50            3,100.00
                      pro forma time entries for November monthly fee
                      statement for privilege and confidentiality (2.3).

SUBTOTAL: Professional Retention & Fees – W&C                                                         13.50           18,012.00


Professional Retention & Fees – Other
1 November 2023       Review Baker Hostetler 2d monthly fee application.         S Ludovici            0.10                124.00

7 November 2023       Correspond with M. Port (LMC) re: ordinary course          S Ludovici            0.10                124.00
                      professional monthly statement.

8 November 2023       Review CNO for KCC 2d monthly fee application (0.1);       S Ludovici            0.30                372.00
                      review KCC monthly fee application (0.1); several
                      emails with C. Giobbe re: same (0.1).

9 November 2023       Emails with KCC, KPMG, Winston, Baker, Jefferies,          S Ludovici            0.80                992.00
                      Silverman, and WBD re: interim fee applications (0.3);
                      revise ordinary course professional statement (0.1);
                      review ordinary course professional report and
                      compare with prior reports (0.1); email with M. Port re:
                      revisions (0.1); markup interim application for
                      Silverman (0.3).

10 November 2023      Review Jefferies monthly and interim fee applications.     S Ludovici            0.30                372.00

12 November 2023      Emails to M. Leonard (Lordstown) re: inquiry re:           D Turetsky            0.10                175.00
                      Jefferies’ fees.

13 November 2023      Emails with C. Giobbe re: Debtors’ professionals’          S Ludovici            0.50                620.00
                      interim applications (0.1); email with M VanNiel (Baker)
                      and with M. Orobios (KPMG) re: interim application
                      (0.1); review KPMG interim fee application and email
                      with WBD re: same (0.2); further email with C. Giobbe
                      re: Debtors’ professionals’ fee filings (0.1).




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14 November 2023      Call with S. Ruben (Dentons) re: Jefferies applications      S Ludovici            1.20            1,488.00
                      (0.1); review status of interim applications, and
                      ongoing correspondence with M. VanNiel and with C.
                      Giobbe re: interim applications (0.1); review Winston
                      interim fee application (0.1); review status of interim
                      fee applications (0.1); correspond with Dentons
                      (Jefferies' counsel), and with C. Giobbe (WBD), and
                      with Baker Hostetler (M. VanNiel), and with KPMG re:
                      same (0.3); emails with C. Tsitsis (Silverman) re:
                      monthly fee application (0.1); review Baker Hostetler
                      interim fee application (0.1); review status of interim
                      applications (0.1); correspond with KPMG, and with C.
                      Giobbe (WBD) re: interim fee application (0.1);
                      correspond with D. Turetsky re: interim fee
                      applications (0.1).

15 November 2023      Call with M. Port re: professional fee applications (0.3);   S Ludovici            1.20            1,488.00
                      review Silverman time detail for confidentiality and
                      privilege (0.5); review interim fee application materials
                      and correspondence from client (0.3); voicemail to and
                      email to M. Port re: professional fee questions (0.1).

SUBTOTAL: Professional Retention & Fees – Other                                                          4.60            5,755.00


Reports, Schedules & U.S. Trustee Issues
1 November 2023       Call with J. Zakia (W&C) re: LAS/LandX post-closing          G Pryor               1.00            1,950.00
                      matters.

1 November 2023       Review and comment re: draft 10-Q.                           D Turetsky            1.10            1,925.00

1 November 2023       Review and revise draft 10-Q (0.9); confer with D.           F He                  1.30            1,703.00
                      Turetsky and A. Erickson re: same (0.4).

1 November 2023       Draft 10-Q risk factors re: bankruptcy and bankruptcy        R Szuba               1.90            2,166.00
                      related sections (1.5); confer with F. He re: same (0.2);
                      draft correspondence to D. Turetsky and W&C team
                      re: same (0.1); draft correspondence to J. Spreen and
                      Baker team re: same (0.1).

2 November 2023       Draft correspondence to Baker team re: 10-Q (0.1);           R Szuba               1.70            1,938.00
                      draft correspondence to D. Turetsky and W&C team
                      re: same (0.1); draft 10-Q provisions re: chapter 11
                      Plan (1.2); draft correspondence to R. Kampfner, D.
                      Turetsky and W&C team re: same (0.2); confer with F.
                      He re: same (0.1).

2 November 2023       Draft audit response letter.                                 L Mezei               1.70            1,734.00

3 November 2023       Review revised draft of 10-Q and comments thereto.           G Pryor               1.10            2,145.00

3 November 2023       Review and comment re: 10-Q (0.9); call with R.              D Turetsky            1.00            1,750.00
                      Szuba (W&C) re: 10-Q issues (0.1).

3 November 2023       Review and revise 10-Q.                                      F He                  0.70                917.00

3 November 2023       Further review and revise portions of draft Lordstown        D Kim                 0.30                381.00



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                   10-Q.

3 November 2023    Draft 10-Q re: bankruptcy issues and updates (0.7);         R Szuba               1.10            1,254.00
                   correspond with D. Turetsky and R. Kampfner re:
                   same (0.2); correspond with F. He re: same (0.1); draft
                   correspondence to J. Spreen and Baker re: same
                   (0.1).

6 November 2023    Further review and comment re: 10-Q.                        D Turetsky            0.60            1,050.00

6 November 2023    Revise paragraph for audit letter response re: W&C          S Ludovici            0.30                372.00
                   fees.

6 November 2023    Draft 10-Q re: bankruptcy related updates (0.3);            R Szuba               0.60                684.00
                   correspond with R. Kampfner and F. He re: same
                   (0.2); correspond with A. Kroll re: same (0.1).

7 November 2023    Review and comment re: audit letter response.               D Turetsky            0.30                525.00

7 November 2023    Confer with S. Neger (Silverman) re: MOR issues             F He                  0.60                786.00
                   (0.3); confer with M. Patterson (Womble) re: same
                   (0.3).

7 November 2023    Finalize audit response (0.3); correspond with D.           D Kim                 0.50                635.00
                   Turetsky, F. He re: same (0.2).

7 November 2023    Draft 10-Q re: chapter 11 developments (1.1); review        R Szuba               1.80            2,052.00
                   comments from D. Ninivaggi, re: same (0.4);
                   correspond with D. Turetsky and F. He re: same (0.3).

8 November 2023    Review latest draft of 10-Q from Baker.                     G Pryor               1.30            2,535.00

8 November 2023    Further review and comment re: 10-Q (0.6); emails to        D Turetsky            0.80            1,400.00
                   R. Szuba (W&C) re: 10-Q issues (0.2).

8 November 2023    Review draft 10-Q (0.4); emails with R. Szuba re:           J Zakia               0.50                875.00
                   same (0.1).

8 November 2023    Review 10-Q comments (0.5); confer with R. Szuba re:        F He                  0.80            1,048.00
                   same (0.3).

8 November 2023    Draft 10-Q sections re: chapter 11 developments (1.3);      R Szuba               2.50            2,850.00
                   correspond with A. Eriksen, D. Turetsky, and R.
                   Kampfner re: same (0.4); correspond with J. Zakia and
                   J. Green re: same (0.3); confer with F. He re: same
                   (0.2); correspond with J. Spreen re: same (0.3).

9 November 2023    Call with S. Stelk (KPMG), A. Kroll (Lordstown), M.         D Turetsky            2.20            3,850.00
                   Leonard (Lordstown), and J. Zakia (W&C) re: 10-Q
                   contingent liability issues (0.6); further review and
                   comment re: 10-Q (0.9); calls with R. Szuba (W&C) re:
                   10-Q issues (0.6); call with A. Kroll (Lordstown) re: 10-
                   Q issues (0.1).

9 November 2023    Review comments, questions, and to 10-Q from A.             R Szuba               0.60                684.00
                   Kroll (0.3); correspond with J. Spreen and D. Turetsky



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                      and W&C team re: same (0.3).

12 November 2023      Further review and comment re: 10-Q.                      D Turetsky            0.30                525.00

13 November 2023      Review latest draft of 10-Q from Baker.                   G Pryor               0.70            1,365.00

13 November 2023      Email to A. Kroll (Lordstown), M, Leonard (Lordstown)     D Turetsky            2.10            3,675.00
                      and J. Spreen (Baker Hostetler) re: 10-Q (0.1); call
                      with A. Kroll re: 10-Q issues (0.1); emails to F. He
                      (W&C) and R. Szuba (W&C) re: 10-Q issues (0.2);
                      further review and comment re: 10-Q (1.2); call with A.
                      Kroll (Lordstown) re: 10-Q issues (0.1); call with A.
                      Kroll re: 10-Q issues (0.1); call with R. Szuba (W&C)
                      re: 10-Q issues (0.3).

13 November 2023      Review 10-Q issues.                                       R Kampfner            0.50                795.00

13 November 2023      Review 10-Q comments (0.9); confer with D. Turetsky       F He                  1.60            2,096.00
                      and A. Erickson re: same (0.3); confer with Baker re:
                      same (0.4).

13 November 2023      Review and provide comments to bankruptcy updates         D Kim                 0.40                508.00
                      for revised 10-Q.

13 November 2023      Draft disclosure re: employee settlement for 10-Q.        R Szuba               0.50                570.00

14 November 2023      Further review and comment re: 10-Q.                      D Turetsky            0.20                350.00

22 November 2023      Review draft October MOR and supporting file for          D Kim                 0.80            1,016.00
                      LEVC (0.3); review draft October MOR and supporting
                      files for LMC (0.3); review draft October MOR and
                      supporting file for LEVS (0.1); correspond with M.
                      Patterson (WBD) re: same (0.1).

27 November 2023      Review and analyze comments from company re: draft        D Kim                 0.30                381.00
                      October MORs (0.2); correspond with company and F.
                      He re: same (0.1).

28 November 2023      Confer with A. Kroll (Company) re: MOR questions          F He                  0.40                524.00
                      (0.2); review COC for motions and MOR and confer
                      with Womble re: same for filing (0.2).

28 November 2023      Review final draft of October MOR for LEVC (0.1);         D Kim                 0.20                254.00
                      correspond with C. Giobbe (WBD) re: filing of same
                      (0.1).

SUBTOTAL: Reports, Schedules & U.S. Trustee Issues                                                   34.30           49,268.00


Employee Issues
1 November 2023       Further analysis re: employee issues.                     D Turetsky            0.20                350.00

2 November 2023       Calls with D. Ninivaggi (Lordstown) re: employee          D Turetsky            0.70            1,225.00
                      severance issues (0.2); review and comment re: Equity
                      Committee proposal re: employee issues (0.4); email
                      to D. Ninivaggi (Lordstown) re: same (0.1).



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3 November 2023    Further analysis re: employee severance issues (0.2);     D Turetsky            0.70            1,225.00
                   call with D. Ninivaggi (W&C) re: employee severance
                   issues (0.2); further review/comment re: Equity
                   Committee proposal re: employee severance issues
                   (0.2); email to R. Winning (M3) and B. Silverberg
                   (Brown Rudnick) re: Equity Committee proposal re:
                   employee severance issues (0.1).

6 November 2023    Further research/analysis re: employee severance          D Turetsky            2.90            5,075.00
                   issues (1.0); call with D. Ninivaggi (Lordstown) re:
                   employee issues (0.1); calls with Brown Rudnick (B.
                   Silverberg and others), R. Winning (M3) and R.
                   Kampfner (W&C) re: employee severance issues (1.2);
                   calls with R. Kampfner (W&C) re: employee issues
                   (0.6).

6 November 2023    Review and comment employee settlement motion             R Kampfner            3.60            5,724.00
                   (1.0); calls with Brown Rudnick (B. Silverberg and
                   others), R. Winning (M3) and D. Turetsky (W&C) re:
                   employee settlement issues (1.2); calls with D.
                   Turetsky (W&C) re: employee issues (0.6); further
                   review employment issues for executives (0.8).

7 November 2023    Further research/analysis re: employee severance          D Turetsky            5.30            9,275.00
                   issues (2.2); email memo to R. Kampfner (W&C) and
                   R. Szuba (W&C) re: same (0.4); calls with D. Ninivaggi
                   (Lordstown) re: employee severance issues (0.9); calls
                   with R. Kampfner (W&C) re: employee severance
                   issues (0.9); calls with A. Kroll (Lordstown) re:
                   employee issues (0.2); call with B. Silverberg (Brown
                   Rudnick) re: employee issues (0.1); calls with T.
                   Marnin (W&C) re: employment agreement issues (0.2);
                   calls with D. Tsitsis (Silverman) re: employee issues
                   (0.2); email to D. Kovsky (Troutman) and F. Lawall
                   (Troutman) re: employee severance issues (0.1);
                   emails to L. Mezei (W&C) re: employee agreement
                   issues (0.2); call with D. Kovsky (Troutman) and D.
                   Ninivaggi (Lordstown) re: employee claim issues (0.5);
                   email response to employee severance proposal from
                   Equity Committee to R. Winning (M3) and B.
                   Silverberg (Brown Rudnick) (0.3); emails to A. Kroll
                   (Lordstown) and others re: employment contract
                   issues (0.2).

7 November 2023    Review/research employee issues, including review of      R Kampfner            4.20            6,678.00
                   cases (0.9) and revise term sheet (1.1); calls with D.
                   Turetsky (W&C) re: employee severance issues (0.9);
                   review and revise employment motion (1.3).

7 November 2023    Research re: 502(b)(7) analysis with respect to           R Szuba               1.00            1,140.00
                   employee claims settlement matters (0.3); correspond
                   with A. Kroll re: RSU issue re: same (0.3); analyze
                   employee compensation documents supporting
                   settlement figures (0.4).

7 November 2023    Research re: employment contract settlement issues.       L Mezei               3.40            3,468.00

8 November 2023    Call with D. Detweiler (Womble) re: employee              D Turetsky            0.70            1,225.00
                   settlement motion (0.2); call with B. Silverberg (Brown
                   Rudnick) and (partial) R. Kampfner (W&C) re:



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                    employee settlement issues (0.3); emails to D.
                    Ninivaggi (Lordstown) re: employee issues (0.1); call
                    with M. Leonard (Lordstown) re: employee issues
                    (0.1).

8 November 2023     Review and revise employee motion (1.9); review          R Kampfner            2.50            3,975.00
                    employee program issues (0.6).

8 November 2023     Review research and draft motion to settle certain       D Kim                 0.40                508.00
                    employee obligations.

9 November 2023     Emails to F. He (W&C), R. Szuba (W&C) re: employee       D Turetsky            4.70            8,225.00
                    settlement motion (0.2); call with F. He (W&C) re:
                    employee settlement motion (0.1); call with B.
                    Silverberg (Brown Rudnick) re: employee settlement
                    motion (0.1); call with R. Kampfner (W&C) re:
                    employee motion (0.2); emails to D. Ninivaggi
                    (Lordstown) re: employee issues (0.3); email to D.
                    Kovsky (Troutman) and F. Lawall (Troutman) re:
                    employee issues (0.3); further analysis re: employee
                    issues (0.2); call with D. Ninivaggi (Lordstown) re:
                    employee issues (0.1); calls with D. Kovsky
                    (Troutman) re: employment agreement issues (0.3);
                    draft update to Board re: employment agreement
                    issues (0.9); call with T. Marnin (W&C) re: employee
                    issues (0.1); call with J. Zakia (W&C) re: employee
                    issues (0.1); further calls with B. Silverberg (Brown
                    Rudnick) and R. Winning (M3) re: employee severance
                    issues (0.9); review and comment re: Equity
                    Committee employee severance settlement proposal
                    (0.9).

9 November 2023     Confer with D. Turetsky re: employee settlement          J Zakia               0.10                175.00
                    issues.

9 November 2023     Call with D. Turetsky (W&C) re: employee motion          R Kampfner            0.90            1,431.00
                    (0.2); revise term sheet with Equity Committee re:
                    employee claims (0.7).

9 November 2023     Confer with Baker re: employee settlement issues         F He                  1.30            1,703.00
                    (0.3); confer with D. Turetsky re: same (0.2); review
                    revised employee motion (0.5); confer with R. Szuba
                    re: same (0.3).

9 November 2023     Correspond with R. Kampfner re: employment               R Szuba               5.50            6,270.00
                    agreements (0.1); review employment agreements
                    (0.3); draft employee settlement motion and order
                    (3.2); review documents re: same (0.4); correspond
                    with R. Kampfner and D. Turetsky re: same (0.2);
                    review Equity Committee settlement counterproposal
                    re: employee settlement (0.5); confer with D. Turetsky
                    re: same (0.1); correspond with Company re: same
                    (0.1); correspond with LMC board and compensation
                    committee re: proposed employee settlement (0.4);
                    confer with D. Turetsky re: same (0.2).

10 November 2023    Emails to D. Ninivaggi (Lordstown) re: employee          D Turetsky            4.40            7,700.00
                    severance issues (0.4); calls with D. Ninivaggi
                    (Lordstown) re: employee severance issues (0.3); call
                    with R. Winning (M3) re: employee severance issues



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LORDSTOWN MOTORS CORP.
RE: Project Pickup                                                                             OUR REF: 1902563-0002




DATE                DESCRIPTION                                              TIMEKEEPER         HOURS                  USD

                    (0.1); review and comment re: motion to approve
                    employee agreement settlement (1.9); calls with R.
                    Szuba (W&C) re: employee settlement issues (0.4);
                    calls with R. Kampfner (W&C) re: employee settlement
                    issues (0.3); call with B. Silverberg (Brown Rudnick)
                    re: employee settlement issues (0.1); call with D.
                    Kovsky (Troutman) re: employee settlement issues
                    (0.1); further review and comment re: employee
                    settlement term sheet (0.4); call with M. Leonard
                    (Lordstown) re: employee settlement issues (0.1);
                    email to E. Hightower (Lordstown) re: employee
                    settlement issues (0.2); email to E. Hightower
                    (Lordstown) re: employee severance issues (0.1).

10 November 2023    Calls with D. Turetsky (W&C) re: employee settlement     R Kampfner            2.10            3,339.00
                    issues (0.3); review and revise motion re: employee
                    obligations (1.8).

10 November 2023    Correspond with T. Marnin re: employment                 R Szuba               4.50            5,130.00
                    agreements (0.3); correspond with B. Silverberg and
                    Equity Committee re: employee settlement (0.2);
                    correspond with Company re: same (0.2); draft
                    employee settlement motion (1.8); draft employee
                    settlement term sheet (1.7); correspond with D.
                    Ninivaggi and Company re: same (0.3).

11 November 2023    Call with B. Silverberg (Brown Rudnick) re: employee     D Turetsky            0.70            1,225.00
                    settlement issues (0.2); call with R. Winning (M3) re:
                    employee settlement issues (0.4); emails to D.
                    Ninivaggi (Lordstown) re: employee motion comments
                    (0.1).

12 November 2023    Call with J. Zakia (W&C) re: employment agreement        D Turetsky            4.70            8,225.00
                    settlement matters (0.1); emails to D. Ninivaggi
                    (Lordstown) re: employee settlement motion (0.2);
                    calls with R. Winning (M3) re: employee settlement
                    agreement issues (0.2); calls with D. Ninivaggi
                    (Lordstown) re: employee settlement agreement
                    issues (0.4); further analysis re: employee settlement
                    agreement issues (1.0); calls with T. Marnin (W&C) re:
                    Lordstown employee settlement term sheet issues
                    (0.2); review and comment re: employee settlement
                    term sheet (0.4); email to B. Silverberg (Brown
                    Rudnick), R. Winning (M3) and others re: employee
                    issues (0.2); further review and comment re: employee
                    settlement motion (0.9); call with R. Kampfner (W&C)
                    re: employee settlement agreement issues (0.1); email
                    to D. Kovsky (Troutman) and F. Lawall (Troutman) re:
                    employee settlement issues (0.2); calls with M.
                    Leonard (Lordstown) re: employee settlement issues
                    (0.2); calls with R. Szuba (W&C) re: employee
                    settlement issues (0.6).

12 November 2023    Draft employee settlement motion, order and term         R Szuba               2.10            2,394.00
                    sheet (1.3); correspond with R. Kampfner and D.
                    Turetsky re: same (0.2); correspond with M. Patterson
                    and Womble team re: same (0.2); correspond with D.
                    Kovsky (Creditors’ Committee) re: same (0.2);
                    correspond with B. Silverberg re: same (0.1);
                    correspond with A. Kroll and Company re: same (0.1).




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LORDSTOWN MOTORS CORP.
RE: Project Pickup                                                                               OUR REF: 1902563-0002




DATE                DESCRIPTION                                                TIMEKEEPER         HOURS                   USD

13 November 2023    Review Creditors’ Committee comments to employee           D Turetsky            3.20            5,600.00
                    settlement (0.1); email to D. Ninivaggi (Lordstown) and
                    M. Leonard (Lordstown) re: employee settlement
                    issues (0.1); calls with D. Ninivaggi (Lordstown) re:
                    employee settlement issues (0.3); calls with B.
                    Silverberg (Brown Rudnick) re: employee settlement
                    issues (0.4); further revise employee settlement term
                    sheet (0.4); emails to B. Silverberg (Brown Rudnick)
                    and others re: employee settlement issues (0.1);
                    emails to D. Kovsky (Troutman) re: employee
                    settlement issues (0.2); call with B. Hackman (US
                    Trustee) re: employee settlement motion (0.1); call
                    with R. Kampfner (W&C) re: employee issues (0.1);
                    call with D. Kovsky (Troutman) re: employee claims
                    settlement (0.1); review and comment re: further draft
                    of employee settlement motion (0.9); further analysis
                    re: employee settlement issues (0.2); calls with T.
                    Marnin (W&C) re: employee settlement issues (0.1);
                    emails to K. Brown (Brown Rudnick) re: employee
                    settlement issues (0.1).

13 November 2023    Review and revise employee motion (1.2); various           R Kampfner            2.10            3,339.00
                    calls with D. Turetsky re: employment motion issues
                    and review of related issues (0.9).

13 November 2023    Correspond with D. Turetsky re: motion to settle           R Szuba               4.60            5,244.00
                    employee claims (0.1); draft employee settlement
                    motion and order (1.7); draft term sheet re: same (0.6);
                    correspond with J. Spreen and M. Leonard re:
                    employee settlement and term sheet (0.4); correspond
                    with R. Kampfner and D. Turetsky re: employee
                    settlement term sheet (0.3); correspond with D.
                    Ninivaggi and M. Leonard re: employee settlement
                    motion and term sheet (0.5); correspond with B.
                    Silverberg (Equity Committee) and D. Kovsky
                    (Creditors’ Committee) re: same (0.3); correspond with
                    M. Patterson and Womble team re: filing of employee
                    settlement motion (0.2); prepare employee settlement
                    motion for filing (0.2); correspond with D. Kovsky re:
                    term sheet (0.1); cause employee settlement motion to
                    be filed (0.2).

14 November 2023    Call with J. Badtke-Berkow (Allen & Overy) re: inquiry     D Turetsky            0.10                175.00
                    re: employee settlement motion.

27 November 2023    Call with B. Silverberg (Brown Rudnick) re: employee       D Turetsky            0.20                350.00
                    contract issues (0.1); email to D. Kim (W&C) re: same
                    (0.1).

28 November 2023    Call with E. Hightower (Lordstown) and D. Ninivaggi        D Turetsky            0.20                350.00
                    (Lordstown) re: executive contract issues.

30 November 2023    Email to Company re: drafting of agreement re:             R Szuba               0.20                228.00
                    employee settlement (0.1); correspond with J. Spreen
                    re: same (0.1).

SUBTOTAL: Employee Issues                                                                           67.20          100,971.00



TOTAL                                                                                              730.70          989,463.00



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